Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 1 of 45




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

   HEAD KANDY LLC,

   Plaintiff,

   vs.
                                           Case No. 0:23-cv-60345-RAR
   KAYLA MARIE MCNEILL,

   Defendant.

   ___________________________________/


                DECLARATION OF FRANKLIN L. ZEMEL ON BEHALF OF PLAINTIFF
                                   HEAD KANDY, LLC


   I, Franklin L. Zemel, under penalties of perjury, declare as follows:
         1. I have been engaged on behalf of Head Kandy, LLC (HK) to review certain aspects of the
            lawsuit styled as Head Kandy, LLC v. Kayla Marie McNeil, Case No. 23-CV-60345-RAR
            (STRAUSS) in the Southern District of Florida (the Lawsuit). My discounted hourly rate
            for this engagement is $762.60.

         2. Scope of Engagement. The scope of my engagement is limited to reaching an opinion as
            to what a reasonable fee should be and whether the fee sought is consistent with a
            reasonable fee.

         3. Method.

                  a. My initial step was to obtain a case overview from HK’s Counsel. That overview
                     covered the nature of the case, the legal and evidentiary issues involved, the
                     expedited nature of the preliminary injunction proceedings and the post-hearing
                     briefings and post-R&R objections and briefings.

                  b. Second, on April 5, 2024 I engaged in an initial review of certain court-filings
                     (Client-provided documents) which were provided to me and identified as:




   52211962.1

                                              EXHIBIT 20
Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 2 of 45




                c. The purpose of my initial review was to better understand the issues presented and
                   the results obtained.

                d. On April 9, 2024, I gave a second pass on the Client-provided documents focused
                   more on the quality of the legal arguments presented by both sides, to obtain a better
                   understanding of the evidentiary issues, some of which are relatively new or novel,
                   the legal issues, the legal arguments presented by both sides on the legal issues and
                   in general, overall, to assess the relative complexity and time restraints presented.

                e. Based upon my review, I then began to consider what I thought a reasonable fee
                   might be for a plaintiff’s counsel admitted in the Southern District of Florida, in
                   general, based upon my understanding and assessment of the relative merits of the
                   case, the probable outcome of the case and the nature of the legal market in South
                   Florida for services commensurate with these principles. Based upon my own
                   review and analysis as mentioned, which in turn is premised on my 35 years of
                   experience, I had roughly estimated that a plaintiff’s counsel’s fees for the subject
                   work would be in the $300,000 to $350,000 range.

                f. On April 15, 2024 I received “Prelim Inj Time 04.11.24.xlsx” which was a
                   spreadsheet of the time and details of the work billed to HK totaling $234,785.50.
                   A copy of the spreadsheet is included as Appendix A. I found that the billing was
                   more than sufficiently clear and did not constitute unreasonable “block billing”. I
                   also requested, received and considered the respective CVs for the following
                   timekeepers which are attached as Appendix B:

                        i.   Ethan Loeb
                       ii.   E. Colin Thompson
                      iii.   Elliot Haney
                      iv.    Kathryn Saienni and
                       v.    Jalen LaRubbio

                g. On April 17, 2024 I met via Zoom with Colin Thompson to discuss certain
                   particulars, such as how the spreadsheet was prepared, whether it reflected write-
                   downs, write-offs or Client discounts. The spreadsheet, according to Mr.
                   Thompson, did not reflect such items. I also inquired whether there were any

                                                     -2-
   52211962.1
Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 3 of 45




                     billing controversies or complaints of work or work-product by HK, and I was
                     advised in the negative. Finally, I also inquired into the exercise of billing judgment
                     to understand efforts to exclude "excessive, redundant, or otherwise unnecessary"
                     hours from the fee request. On April 25, I had a follow-up discussion with Mr.
                     Thompson that addressed to my satisfaction that the exercise of billing judgment
                     had occurred.


         4. Factors Considered. On April 18, 2024 I commenced drafting this Declaration. I
            considered a number of factors in reaching my opinion as to a reasonable fee. In particular:

                a. The experience, reputation and ability of the Plaintiff’s Counsel
                b. The experience, reputation and ability of the Defendant’s Counsel
                c. The quality of the work i.e. Plaintiff’s legal arguments and briefings
                d. The quality of the work i.e. Defendant’s legal arguments and briefings
                e. The evidentiary issues both presented and opposed by all Counsel
                f. The amount in controversy including non-monetary relief
                g. The time constraints presented
                h. Although generally included in above, the skill requisite to perform the legal
                   services properly;
                i. the likelihood that undertaking the case would preclude other employment;
                j. the fee customarily charged in South Florida for similar legal services; and
                k. the nature and length of the professional relationship with the client.


         5. Application of Section 4 Factors Considered.

                a. I considered not only Plaintiff’s counsel reputation (i.e. what the legal community
                   perceives) but also my own personal experience of having litigated, for years, on
                   the opposite of Plaintiff’s Counsel and having knowledge of the difficult cases
                   which they have successfully litigated and/or successfully settled.

                b. I was not able to meaningfully consider this factor due to my lack of knowledge of
                   Defendants’ Counsel, but as I make clear elsewhere, I found that Defendant’s
                   Counsel demonstrated a high-degree of skill in these proceedings from what I was
                   able to determine from the Client-provided documents. I mention this because the
                   quality of opposing counsel is a factor in assessing a reasonable attorneys fee.

                c. The quality of Plaintiff’s work from what I observed from the Client-provided
                   documents demonstrated to me a high-level of sophistication. Points were made
                   clearly and succinctly. The analysis was sound and, to me, persuasive.

                d. Similarly, I found the work of the Defendant’s Counsel to be of high quality and
                   also persuasive albeit to a slightly lesser degree. The arguments presented by
                   Defendants were comprehensive and thorough in my opinion. Plaintiff’s Counsel
                   was required to expend significant effort to respond to and/or rebut the many


                                                       -3-
   52211962.1
Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 4 of 45




                     arguments advanced by the Defendant’s Counsel and this factors into the
                     quantitative hours reported by Plaintiff’s Counsel.

                e.    The Preliminary Injunction proceeding introduced relatively new or novel issues
                     in addition to many others in this highly-contested matter. That amongst these are:

                          i. Tension between prior material breach (the court shall consider all other
                             pertinent legal and equitable defenses) and waiver of “equitable defenses”
                         ii. The Use of Summaries as proffered
                       iii. Whether social media comments about the lawsuit are protected speech
                        iv. The extent by which hearsay affidavits may be admitted as evidence based
                             on assertions of sufficient reliability
                         v. Public policy in barring/enforcing “no challenge” clauses
                        vi. In light of the nature of the business, what constituted a “substantial
                             customer relationship” for purposes of enforcing a legitimate business
                             interest. A “close call” according to the Court.
                       vii. Customer activity
                      viii. Defendant’s social media activity

                f. The amount in controversy wasn’t driven so much with the purchase money of the
                   acquisition itself, but for the very survival, according to the Plaintiff, of the business
                   itself which Plaintiff purchased. It was presented as a “bet the Company” case and
                   accordingly the matter required the necessary time and attention to meet the
                   objectives of the case.

                g. Anytime preliminary injunction motions and hearings are presented to a Federal
                   Court, the Parties need to be prepared to move very quickly, thereby forsaking
                   much of their other work to meet the court’s deadlines on the one hand, and be
                   responsive to the Plaintiff’s stated needs in obtaining relief on an expedited or
                   emergency basis. Necessarily, these time constraints absorb significant bandwidth
                   of all available resources which in some cases may also lead to inefficiencies
                   especially where attorney conferences are required for coordination of effort and
                   work-flow or also where work is divided amongst a larger number of lawyers than
                   perhaps in a traditional setting. While I have taken this into consideration, I also
                   noted instances in the billing where conference and discussions with the lawyers
                   were not billed by all of the lawyers reported to be present. I address this further
                   below under “exercise of billing judgment.”

                h. While somewhat addressed above that I am not at all familiar with the Defendant’s
                   Counsel, it’s clear to me that they demonstrated high-quality skills. This in turn
                   also required high-quality skills from the Plaintiff’s Counsel, who as I mentioned
                   above, I have known for years as a formidable opponent.

                i. I considered, but gave no weight this factor.




                                                      -4-
   52211962.1
Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 5 of 45




                j. The Plaintiff’s Counsel, while physically based in Tampa, is nonetheless a regular
                   presence in the South Florida Courtrooms. If anything, Plaintiff Counsel’s hourly
                   rates, the top rate for Mr. Loeb being $600 per hour and Mr. Thompson at $500.00
                   an hour is well-within, if not below, the range of fees charged for lawyers of similar
                   skill and providing similar legal services. From my own experience and
                   knowledge, the range for fees for lawyers of similar skill for similar services is
                   between $600 and $950 and recently rates have shown a marked increase in the
                   South Florida market, again, depending on the degree of difficulty, the complexity
                   of evidentiary presentation and the amounts in controversy.

                k. I did not consider this factor.

         6. Exercise of Billing Judgment. On April 25th I received a communication from Mr.
            Thompson which was in response to my queries regarding the exercise of billing judgment
            by which approximately 54 of hours of work was not charged to the Plaintiff. That
            communication is attached as Appendix C. On the same day, I had a discussion with Mr.
            Thompson in which he further explained how efforts were made not to bill for three lawyers
            at the PI Hearing. As part of that review, it was discovered that while the client was not
            billed for certain of Mr. Haney’s time entries, it was nonetheless included on “Prelim Inj
            Time 04.11.24.xlsx” (Appendix B). As a result of this discovery, a new spreadsheet was
            prepared which lowered the fees sought by approximately $4,000.00. See BLHT Prelim
            Inj Time (June-Oct 2023)xlsx attached as Appendix D. Separately, because of a last-
            moment illness to Mr. Loeb, the PI hearing was reset, however, approximately $15,000
            was written off as a result of the “gearing up” efforts that would have to be mostly repeated
            prior to the rescheduled hearing.

         7. Opinion 1. In my opinion, the reasonable range for the legal services provided as
            evidenced by the Client-provided documents is between $300,000 and $350,000 and that
            accordingly Plaintiff’s Counsel’s request for $230,999.50 falls well-within and in fact,
            well-below, the reasonable range.

         8. I was also asked to review additional court-filings and to render an opinion as to what a
            reasonable fee should be and whether the fees sought by Plaintiff is consistent with a
            reasonable fee with respect to certain injunction-enforcement proceedings.

         9. Using the same methodology as above, I first reviewed additional documents provided to
            me on April 24 aptly titled ”Additional Documents 04.24.24.zip” (the “Additional
            Documents”). The Additional Documents were provided to me and identified as:




                                                     -5-
   52211962.1
Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 6 of 45




         10. I gave an initial review of the Additional Documents on April 25. I then gave a second
             pass on the Additional Documents on April 26. The purpose of my initial review was to
             better understand the issues presented.

         11. On April 26, 2024, I gave a second pass on the Additional Documents focused more on the
             quality of the legal arguments presented by both sides, to obtain a better understanding of
             the issues, one of which was new (i.e. the NLRB argument), the legal arguments presented
             by both sides and in general, overall, to assess the relative complexity of the work being
             performed.

         12. I also considered the Court’s Order To Show Cause dated March 29th at [D.E. 207]

         13. Based upon my review, I then began to consider what I thought a reasonable fee might be
             for a plaintiff’s counsel admitted in the Southern District of Florida, in general, based upon
             my understanding and assessment of the relative merits of the work observed in the
             Additional Documents and the nature of the legal market in South Florida for services
             commensurate with the these principles. Based upon my own review and analysis as
             mentioned, which in turn is premised on my 35 years of experience, I had roughly estimated
             that a plaintiff’s counsel’s fees for the subject work reflected by the Additional Documents
             would be in the $65,000 to $90,000 range.

         14. On April 19 I was also provided with Plaintiff’s Notice of Filing dated April 17, 2024 and
             identified as D.E. 233. I did not review the Notice of Filing until April 26, and only did so
             after first I completed the steps outlined above.

         15. While I did not review or consider Mr. Loeb’s Affidavit as part of Plaintiff’s Notice of
             Filing before reaching my opinions, it underscores my view of his skill and experience.

         16. Opinion 2. As I understand it from Plaintiff’s Notice of Filing, Plaintiff’s Counsel is
             seeking $50,326.00 of the work which comprised by the Additional Documents which falls
             well-within and actually well-below what I believe to be a reasonable fee.




                                                      -6-
   52211962.1
Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 7 of 45




                   Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing
   is true and correct.

   Dated: May 1, 2024.


                                                         Franklin L. Zemel
                                                         Franklin L. Zemel




                                                   -7-
   52211962.1
Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 8 of 45




                   APPENDIX A
Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 9 of 45

Entry Date      Timekeeper   Matter   Hours          Rale         Amount         Narrative

   06/21/2023   EPH          25073            1.3           340             442 Review and analyze McNeill's Response in Opposition to Motion for Preliminary Injunction for
                                                                                purposes of drafting Reply in Support of Motion for Preliminary Injunction (1.0); Strategy
                                                                                 conference with Colin Thompson regarding Reply in Support of Motion for Preliminary
                                                                                 Injunction (.3).
   06/21/2023   KES          25073            5.5           285       1567 5 Meet and confer with Cohn Thompson regarding upcoming preliminary injunction hearing (0.4);
                                                                             Conduct necessary legal research regarding the admissibility of social media comments and
                                                                             posts in the context of hearsay exceptions (2.9); Conduct necessary legal research regarding
                                                                             the authentication of posts and comments made on social media (1.2)


   06/21/2023   HAW          25073            09            250             225 Compile evidence and preparation offer June 28th evidentiary hearing ( 9)
   06/22/2023   EJL          25073              1           600             600 Conference with Colin Thompson regarding issues identified in McNeill opposition to injunction,
                                                                                 including First Breach defense and other contractual arguments.
   06/22/2023   ECT          25073            7.5           500            3750 Receive and review McNeill's Opposition to Motion for Preliminary Inunction and exhibits
                                                                                 attached thereto and conferences with Ethan Loeb and Mr Rosenbaum regarding same (1.9);
                                                                                 review case law cited in McNeill's Opposition and direct legal research for Reply to Opposition
                                                                                 (1.1); review legal research regarding authentication of Facebook comments and posts (.5); e-
                                                                                 mail and telephone correspondence with opposing counsel regarding potential stipulations as
                                                                                 to admissibility of certain evidence al hearing on Motion for Preliminary Injunction (.8); initial
                                                                                 review of list of social media videos to be relied on al evidentiary hearing and cull from same
                                                                                 (.8); review legal research to rebut McNeill’s argument she is not bound by restrictive covenants
                                                                                 due to Head Kandy's alleged prior material breaches of agreement (.5); - identification of non
                                                                                 video posts to be added to exhibit list for use at evidentiary hearing (.8); draft working exhibit list
                                                                                 (1.1)

   06/22/2023   EPH          25073            6.3           340            2142 Research caselaw cited by McNeill in Response in Opposition to Motion for Preliminary
                                                                                 Injunction and analyze distinguishing factors for purposes of drafting Reply in Support of Motion
                                                                                 for Preliminary Injunction (2.6); Research enforceability of no-contest provision in employment
                                                                                 agreement (1.3); Research procedure to consider prior breach in motion for preliminary
                                                                                 injunction (.6); Research rebuttable presumption of irreparable harm utilized by federal courts
                                                                                 (.7); Research caselaw related to legitimate business interests protected by restrictive
                                                                                 covenants (11),
   06/22/2023   KES          25073            4.3           285        1225.5 Meet and confer with Colin Thompson regarding upcoming preliminary injunction hearing (0.3);
                                                                                 Conduct necessary legal research regarding the admissibility of social media comments and
                                                                                 posts in the context of hearsay exceptions (1.2); Prepare power point presentation comparing
                                                                                 Head Kandy products with those marketed by Kayla McNeill (2.8)


   06/22/2023   HAW          25073            3.5           250             875 Compilation of comments to social media posts (2 5); draft notice of filing and intent to use
                                                                                 summaries (.2); preparation for evidentiary hearing (.5); prepare witness and exhibit list (.3)


   06/23/2023   ECT          25073            8,6           500            4300 Review and revise Notice of Intent to Use Summaries of Facebook and TikTok comments and
                                                                                 review compiled summaries for service on opposing counsel (.8); review and edit cuts of
                                                                                 Facebook and TikTok videos for use al evidentiary hearing (2.4); identification of additional
                                                                                 comments from customers stating they will no longer purchase HK products after specific social
                                                                                 media posts and telephone and email correspondence with Ms McDermaid regarding
                                                                                 additional customer and sales data needed for evidentiary hearing (1.6); continue compiling
                                                                                 and preparing evidence for evidentiary hearing (3.8).


   06/23/2023   EPH          25073            73            340            2482 Draft Motion to File Business Records Under Seal (1.2); Research applicability of prior restraint
                                                                                jurisprudence to injunction proceedings requesting enforcement of contract (1.4); Draft Reply in
                                                                                 Support of Motion for Preliminary Injunction (4 7),
   06/23/2023   HAW          25073              8           250            2000 Compilation of evidence and preparation for June 28th evidentiary hearing
   06/25/2023   ECT          25073            5.8           500            2900 Analysis of additional daily sales data received and request hourly sales data to support
                                                                                 declines in sales after McNeill posts and receive and review same from Ms. McDermaid (1.3);
                                                                                 continue compiling evidence and presentation materials for evidentiary hearing, focusing on
                                                                                 evidence of damages and irreparable harm, including data showing loss of particular customers
                                                                                 and loss of sales revenues and orders (1.1); review and revise Reply to McNeill’s Opposition to
                                                                                 Motion for Preliminary injunction (2.1); begin drafting of outline for direct examanination of
                                                                                 Jonathan Rosenbaum of evidentiary hearing (1.3)-


   06/25/2023   EPH          25073             3 9          340            1326 Continue drafting Reply in Support of Motion for Preliminary Injunction
   06/25/2023   EJL          25073             34           600            2040 Review reply to motion for preliminary injunction and provide revisions to same (1 0); prepare
                                                                                 for hearing on preliminary injunction (2.0); conference with Colin Thompson as to financial proof
                                                                                 and impact of Ms. McNeill on social media to Head Kandy revenue streams (0-4).


   06/25/2023   HAW          25073            2.5           250             625 Preparation of exhibits for June 28th evidentiary Hearing
   06/26/2023   EPH          25073            2.9           340             986 Review and revise Reply in Support of Motion for Preliminary Injunction (2,3); Review and
                                                                                 revise Motion to File Business Records Under Seal (.4); Draft proposed Order Granting Motion
                                                                                 to File Business Records Under Seal (.2).
   06/26/2023   KES          25073             5-4          285            1539 Prepare and draft evidentiary authentication bench brief (1-7); Review and analyze additional
                                                                                 Facebook comments authored by former Head Kandy customers (2.3); Input data and prepare
                                                                                 graph demonstrating the historical sales of certain former Head Kandy customers (1.4)


   06/26/2023   ECT          25073            12.6          500            6300 Multiple correspondence with Ms, McDermaid and Ms. Pletis regarding detailed sales data to
                                                                                support harm claim and preparation of final evidence of same for evidentiary hearing (3.4);
                                                                                meeting with Ethan Loeb in preparation for evidentiary hearing, including finalizing opening
                                                                                presentation, evidence for presentations, evidence to be introduced through witness, and
                                                                                review, revisions and finalizing of exhibit list and final exhibits and review of case law for
                                                                                 argument on legal points at evidentiary hearing (8.2).
   06/26/2023   EJL          25073             9.8          600            5880 Continue to prepare for injunction hearing, including selection and review of exhibits and exhibit
                                                                                list, preparation for Kayla McNeill cross examination, and finalizing opening
                                                                                stalement/demonslrative slide deck.
   06/26/2023   HAW          25073             10           250            2500 Preparation for June 28 evidentiary hearing
   06/27/2023   ECT          25073             4.8          500            2400 Continue drafting of outline for direct examination of Jonathan Rosenbaum, including tying in of
                                                                                 exhibits for introduction through or discussion with Mr. Rosenbaum Receive and initial review of
                                                                                 McNeill's exhibit and witness lists and certain filed exhibits (3.4); receive and review McNeill's
                                                                                 Exhibit and Witness List and review exhibits on which McNeill intends to rely at evidentiary
                                                                                 hearing, including affidavits and declarations from third parties and conference with Ethan Loeb
                                                                                 regarding same (1.4).
   06/27/2023   KES          25073               8          285            2280 Review defendant's exhibit list (1.2); Prepare and draft hearsay bench brief for the preliminary
                                                                                 injunction hearing (1.4); Meet and confer with Colin Thompson regarding defendant's exhibit list
                                                                                 (0.2); Conduct necessary legal research regarding hearsay exceptions for social media
                                                                                 comments (5.0); Call with Angela Porta (Head Kandy affiliate) regarding defendant's exhibit list
                                                                                 (0.2).
   06/27/2023   EJL          25073               1          600             600 ' Review date specific videos of Ms. McNeill, including April 2023 time frame when she was
                                                                                 working with Bo Stegall.
   06/27/2023   HAW          25073             1.5          250             375 Preparation for June 28th evidentiary hearing
Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 10 of
                                       45
 06/28/2023   ECT   25073    0.4   500     200 Conferences with Ethan Loeb regarding exhibits and declarations on which Ms. McNeill intends
                                               to rely al hearing on Motion for Preliminary Injunction and contents of Facebook posts from Ms
                                               McNeill and comments of declarants that contradict declarations


 06/28/2023   KES   25073    0,1   285    28.5 Review defendant’s exhibit list.
 06/29/2023   EJL   25073     2    600    1200 Continue to prepare stipulated facts per court order (2.0)
 06/30/2023   KES   25073    0.5   285   142.5 Meet and confer with Heather Wilfong regarding the extraction of Facebook comments for the
                                               exhibit list (0.5);
 06/30/2023   EPH   25073    1.3   340     442 Research caselaw regarding witness tampering related to service of third parly subpoenas (1,3)


 06/30/2023   EJL   25073      1   600     600 Continue with stipulated facts per court order (1.0)
 07/02/2023   EPH   25073    1.5   340     510 Continue research related to potential obstruction and witness tampering (.8); Draft letter to
                                                opposing counsel regarding potential obstruction and witness tampering (.7).
 07/03/2023   ECT   25073    03    500     150 Review and revise cease and desist letter to opposing counsel regarding Ms. McNeill’s aiding
                                               and abetting witnesses to avoid service of subpoenas
 07/03/2023   EJL   25073    2.5   600    1500 Review and revise letter to opposing counsel regarding McNeill's interference with subpoenas
                                               and provide same to client for review and approval (0-5); continue with stipulated facts per court
                                               order (2.0).
 07/05/2023   ECT   25073    1.6   500     800 Review, revise, and add to draft set of Stipulated Facts requested by the Court in advance of
                                               hearing on Motion for Preliminary Injunction.
 07/05/2023   EJL   25073      2   600    1200 Finalize stipulated facts.
 07/06/2023   ECT   25073    1.9   500     950 Review of Exhibits produced by McNeill, including ten declarations from individuals and cross
                                                reference of declarants to those who made comments to certain Facebook posts (1.0); review,
                                                revise, conference with Ethan Loeb, and correspondence with opposing counsel regarding
                                                proposed Stipulated Facts (.9).
 07/06/2023   EJL   25073     2    600    1200 Review exhibits and list from Kayla McNeill and confer with Colin Thompson regarding
                                                objections to comply with court order.
 07/07/2023   ECT   25073    3.8   500    1900 Zoom conferences with Messrs. Falic, Rosenbaum, Feldman and Taney and Ethan Loeb
                                               regarding bonuses under McNeill’s Executive Employment Agreement and status in
                                               preparation for hearing on Motion for Preliminary Injunction and conference with Ethan Loeb
                                               regarding strategy regarding bonus statements (0.8); Per court order, identify objections to Ms.
                                               McNeill's proposed exhibits for hearing on Motion for Preliminary Injunction, including watching
                                               multiple proposed videos and listening to proposed audio messages (2.2); Telephone
                                               conference with opposing counsel to review proposed stipulated facts and objections to
                                               exhibits (0.8).
 07/07/2023   EJL   25073    05    600     300 Conference call with opposing counsel to discuss stipulated facts and exhibits (0.5)
 07/10/2023   ECT   25073    1.9   500     950 Correspondence with Ethan Loeb regarding and review and revise proposed disputed issues
                                                for court's resolution requested by the court and correspondence with opposing counsel
                                                transmitting same (.6); review, revisions and comments to McNeill's counsel’s revisions to
                                                proposed stipulated facts (1.3)
 07/11/2023   ECT   25073    2.5   500    1250 Review McNeill’s proposed amended Exhibit List and correlate to prior list and objections to
                                                prior list (1.5); Telephone conference with all counsel as required by the Court to discuss
                                                stipulated facts, objections to exhibits, and issues to be tried and multiple email
                                                correspondence with opposing counsel regarding same (1.0); Conference with Ethan Loeb
                                                regarding stipulated facts (0.5-N/C).
 07/11/2023   KES   25073      6   285    1710 Search Facebook comments made by affiants identified in Ms. McNeill’s Exhibit List and
                                               prepare and draft document comparing affiants' Facebook comments and statements made in
                                               their affidavits,
 07/11/2023   EJL   25073    2.5   600    1500 Attend conference with opposing counsel re stipulated facts and exhibit list (1.0); review redline
                                               version of stipulated facts from opposing counsel and communicate about the same with Colin
                                                Thompson (1.5)
 07/11/2023   HAW   25073    0.7   250     175 Preparation of exhibit list for objections to defendants exhibits (.2); begin drafting joint exhibit
                                                list (.5)
 07/12/2023   ECT   25073    1 4   500     700 Review revised stipulated facts from opposing counsel, confer with Ethan Loeb regarding
                                               same, and propose additional revisions to stipulated facts (.8); review and revise proposed
                                               Joint Exhibit List per multiple calls and correspondence with opposing counsel (.3); receive and
                                               review McNeill's objections and stipulations to Head Kandy's proposed exhibits (.3).


 07/12/2023   HAW   25073      2   250     500 Search Whippin Life Facebook page for comments made by Declarants identified by
                                               Defendants for temporary injunction hearing (2.0)
 07/12/2023   KES   25073    5.5   285   1567.5 Prepare and draft document comparing affiants’ Facebook comments and statements made in
                                                their affidavits (0.2); Conduct necessary legal research regarding hearsay exceptions for
                                                Facebook comments (4.0); Prepare and draft memorandum of law outlining arguments in favor
                                                of hearsay exceptions in anticipation of preliminary injunction hearing (1.3).


 07/13/2023   ECT   25073    5.2   500    2600 Receive and review McNeill s Expedited Motion for Leave to Supplement Exhibit List with
                                               additional declarations, review each declaration from purported former clients, research to draft
                                               response as required by court, review comments from declarants to show unreliability of
                                               declarations, and draft portions or, review, revise and finalize for filing Opposition to McNeill’s
                                               Expedited Motion for Leave to Amend Exhibit List.
 07/13/2023   EPH   25073    4,1   340    1394 Research causation requirement for preliminary injunction to enforce restrictive covenant (1.0);
                                               Draft Response in Opposition to McNeill's Motion for Leave to File Supplemental Declarations
                                               (2.2); Review social media comments by newly disclosed declarants and create chart
                                               comparing declarations with social media comments (.9).
 07/13/2023   HAW   25073    2.6   250     650 Continue searches on Whippin Life Facebook page for comments made by Declarants
                                                identified by Defendants for temporary injunction hearing (2.3); compile exhibits, finalize, file
                                                and serve response in opposition to Defendants motion for leave to file exhibits (.3)


 07/13/2023   KES   25073    6.5   285   1852.5 Conduct necessary legal research regarding hearsay exceptions for Facebook comments (1.0);
                                                Meet and confer with Colin Thompson regarding the response to defendant's motion for leave
                                                to supplement exhibit list (0.2); Prepare and draft opposition to motion to leave to supplement
                                                exhibit list (5,3).
 07/13/2023   EJL   25073      1   600     600 Review and revise response to McNeill's motion to supplement exhibits per court order.

 07/14/2023   ECT   25073    4.6   500    2300 Multiple email and document exchanges with opposing counsel to finalize Joint Exhibit List,
                                               Stipulations of Fact, Disputed Issues, and individual exhibit list and review, revise and finalize
                                               same for filing to comply with Court Order (4.6),
 07/14/2023   HAW   25073      3   250     750 Review and revise joint exhibit list (.6); review and revise head Kandy exhibit list (.4); compile
                                               joint hearing exhibits (1.0); compile Head Kandy hearing exhibits (.5); finalize, file and serve
                                               stipulated facts and statement of issues for August 1st hearing (,2); finalize, file and serve joint
                                               exhibit list and plaintiffs exhibit list (.3)
 07/14/2023   EJL   25073    1.4   600     840 Review final version of exhibit list, statement of issues, and stipulated facts for submission to
                                                court and communicate with Colin Thompson and opposing counsel throughout the day (1.4)


 07/17/2023   HAW   25073    44    250    1100 Finalize joint exhibits for August 1, 2023 hearing (2.3); update Head Kandy and McNeill exhibits
                                               for August 1, 2023 hearing (1.0).
 07/18/2023   EPH   25073    0.6   340     204 Strategy conference with Colin Thompson regarding prior breach defense (,2); Research
                                                caselaw related to prior breach defense (.4)
Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 11 of
                                       45
 07/18/2023   KES   25073    0.3   285     85.5 Review judge's order lo supplement the disputed factual issues (0.3)
 07/18/2023   ECT   25073    4.2   500    2100 Conferences with Ethan Loeb regarding Court's order directing supplementation of issues
                                               regarding payment of bonuses (.3); telephone conference with Mr Rosenbaum regarding claim
                                               by McNeill for bonuses owed and additional evidence regarding same (.2); additional research
                                               regarding ability of court lo enforce restrictive covenants despite claims by party to be enjoined
                                               of prior breaches of the agreement (3.7).


 07/18/2023   EJL   25073    0.9   600     540 Conference with Colin Thompson regarding bonus related issues in light of court order
                                                requesting additional information (0.5) confer with Elliot Haney as lo contract language in
                                                employment agreement related to bonus payment. (0,4).
 07/19/2023   ECT   25073    6.2   500    3100 Telephone conference with Jon Rosenbaum regarding McNeill's claim for bonus and testimony
                                                to be presented at evidentiary hearing regarding same (0.2); review, annotate, and supplement
                                                Head Kandy exhibits for evidentiary hearing (2.6); draft additional portions of outline for direct
                                                examination of Jon Rosenbaum with supporting exhibits to account for McNeill’s prior material
                                                breach defense based on alleged non-payment of bonus and telephone calls with Mr.
                                                Rosenbaum regarding same (3.4).


 07/19/2023   EPH   25073    2.9   340     986 Strategy conference with Colin Thompson regarding response to McNeill's statement of facts
                                                (.3); Draft response to McNeill’s statement of facts related lo prior material breach (2.6).


 07/19/2023   EPH   25073    2.3   340     782 Continue researching caselaw related to McNeill's prior breach defense.
 07/19/2023   HAW   25073    0.7   250      175 Preparation for August 1st hearing (.7)
 07/19/2023   KES   25073    4.5   285   1282,5 Conduct necessary legal research regarding whether Head Kandy's potential breach of the
                                                employment agreement was “material'’ (4.0); Prepare and draft memorandum of law regarding
                                                whether Head Kandy’s potential breach of lhe employment agreement was "materia I" (0.5).


 07/20/2023   ECT   25073    9.1   500    4550 Review and perform additional legal research regarding prior material breach defense in
                                                employment context based on alleged failure lo pay portion of compensation and conference
                                                with Ethan Loeb regarding same (2,8); draft additional portions of and revise outline of Mr,
                                                Rosenbaum to account for additional issues raised by McNeill in statement of defense issues,
                                                including follow up with Mr. Rosenbaum and Ms. Petri regarding loan balances and
                                                compensation to Ms. McNeill and identify all exhibits to be potentially used in Mr. Rosenbaum's
                                                direct examination and cross at evidentiary hearing (6.3).


 07/21/2023   ECT   25073    4.3   500    2150 Identify and compile all exhibits for use al evidentiary hearing and track to Joint Exhibit List and
                                               Head Kandy revised Exhibit List and revisions to outlines for evidentiary hearing (3.0); review
                                                exhibits lo be offered by Kayla McNeill and objections thereto (1.3).


 07/21/2023   EPH   25073    4.3   340    1462 Review and revise response to McNeill's statement of facts related to prior material breach
                                               (2.9); Research prior material breach doctrine as equitable defense (.4); Prepare visual aid
                                               showing inconsistent statements of McNeill's declarants for purposes of evidentiary hearing
                                                (1.0).
 07/21/2023   HAW   25073    1.3   250      325 Preparation of exhibits and witness files for August 1st evidentiary hearing
 07/21/2023   EJL   25073    0.4   600      240 Conference with Colin Thompson in connection with Jon Rosenbaum direct testimony outline
                                                and review of same (0 4).
 07/24/2023   EJL   25073    1.6   600      960 Conference call with Jon Rosenbaum regarding testimony at preliminary injunction hearing
                                                 (0.3); review and revise notice of issues on paragraph 4 per court order and confer with Colin
                                                Thompson and Elliot Haney as lo same (1.3).
 07/24/2023   HAW   25073    0.3   250       75 Draft motion and order to allow additional electronic equipment for August 1, 2023 hearing (.3)

 07/25/2023   EJL   25073    2.5   600    1500 Attend zoom call with Ryan Thompson to discuss text messages and other issues regarding
                                               Kayla McNeill theft and breach of fiduciary duties.
 07/25/2023   EJL   25073    0.4   600      240 Conference with Ethan Loeb regarding evidence and legal arguments for preliminary injunction
                                                 hearing.
 07/25/2023   KES   25073    1.2   285      342 Prepare and draft chart comparing statements made by the declarants in defendant’s exhibit
                                                list with their statements made on Facebook (and the corresponding statements made by Kayla
                                                McNeill).
 07/25/2023   EPH   25073    3.8   340     1292 Continue preparing visual aid showing inconsistent statements of McNeill's declarants for
                                                 purposes of evidentiary hearing (1.9); strategy conference with Ethan Loeb and Colin
                                                Thompson regarding response to opposing counsel’s forthcoming motion to strike Head
                                                 Kandy's response to statement of facts related to prior material breach (.3); Draft Head Kandy's
                                                 Response lo McNeill's Motion to Strike (1.6).
 07/26/2023   ECT   25073    0.3   500      150 Conference with Ethan Loeb regarding evidence and legal arguments for preliminary injunction
                                                 hearing and deposition of Bo Stegall.
 07/26/2023   KES   25073    6.5   285   1852.5 Prepare and draft chart comparing statements made by lhe declarants in defendant's exhibit
                                                 list with their statements made on Facebook (and the corresponding statements made by Kayla
                                                 McNeill) (6.5)
 07/26/2023   EPH   25073    3.7   340     1258 Continue preparing visual aid showing inconsistent statements of McNeill's declarants for
                                                 purposes of evidentiaiy hearing.
 07/27/2023   EPH   25073    3.2   340     1088 Draft chart distinguishing caselaw cited by McNeill from caselaw cited by Head Kandy in
                                                 preparation for evidentiary hearing (2.4); Finalize visual aid showing inconsistent statements of
                                                 McNeill's declarants for purposes of evidentiary hearing (.8)
 07/27/2023   KES   25073    2.1   285    598.5 Prepare and draft chart comparing statements made by the declarants in defendant's exhibit
                                                list with their statements made on Facebook (and lhe corresponding statements made by Kayla
                                                McNeill) (2,1),
 07/27/2023   HAW   25073    0.4   250     100 Review and revise opening powerpoinl presentation for August 1st hearing ( 4)
 07/28/2023   EJL   25073    5.5   600    3300 Continue lo prepare for hearing on preliminary injunction, including cross examination points for
                                                 Kayla McNeill (5.5),
 07/28/2023   HAW   25073    4.6   250     1150 Preparation for August 1st evidentiary hearing (4.6)
 07/28/2023   EPH   25073    6.3   340    2142 Draft bench memorandum regarding inapplicability of prior material breach defense (1,0); Draft
                                                 bench memorandum regarding admissibility of customer social media comments (2,2); Review
                                                 and revise bench memorandum regarding authenticity of social media comments (.3); Strategy
                                                 conference with Ethan Loeb regarding arguments in opposition of prior material breach defense
                                                 (1.5); Research contractual waiver of statutory rights (1.3).


 07/29/2023   EJL   25073    2.5   600     1500 Continue with preparation for hearing on motion for preliminary injunction.
 07/29/2023   HAW   25073    2,5   250      625 Compilation of contradictory comments for use at August 1st hearing,
 07/30/2023   ECT   25073    4.5   500    2250 In preparation for hearing on Motion for Preliminary Injunction, team meeting to review
                                                 evidence and witness strategy, and identify, research and review case law on legal issues to be
                                                 argued at hearing.
 07/30/2023   EPH   25073    4.5   340     1530 Strategy conference with Colin Thompson and Ethan Loeb in preparation for evidentiary
                                                 hearing.
 07/30/2023   EJL   25073      6   600     3600 Extended meeting with Colin Thompson in preparation for hearing on motion for preliminary
                                                 injunction and continue with final preparations (4.5); Preparation of McNeill's impeachment
                                                 evidence (1.5)
 07/30/2023   HAW   25073    7.5   250     1875 Preparation for August 1st evidentiary hearing, including all exhibits, legal memoranda, witness
                                                 files and impeachment evidence.
 07/31/2023   HAW   25073    0.5   250      125 Review Defendants objections to Plaintiff’s exhibits and update joint exhibit list (.5)
Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 12 of
                                       45
 07/31/2023   EJL   25073     8,5   600   5100 Finalize preparation for preliminary injunction hearing, including meeting with Jon Rosenbaum
                                                 to prepare for trial testimony,
 07/31/2023   ECT   25073       9   500   4500 Meeting with Ethan Loeb and Elliot Haney in preparation for hearing on Motion for Preliminary
                                               Injunction, meeting with Mr. Rosenbaum to prepare for testimony and cross examination, and
                                                 review and revise outline and evidence for testimony of Mr. Rosenbaum.


 07/31/2023   EPH   25073     2.8   340     952 Prepare exhibits for use at evidentiary hearing (.4); Prepare evidentiary hearing (2.4)
 07/31/2023   HAW   25073     2.2   250     550 Preparation for August 1st hearing (2.0); draft notice of objection to McNeill Joint Exhibit 1 14
                                                 (.2)
 08/01/2023   ECT   25073    11-5   500   5750 Preparation for and attend Preliminary Injunction hearing in Ft. Lauderdale and conference with
                                               Elhan Loeb after hearing regarding legal memoranda, proposed findings of fact, and
                                               conclusions of law requested by the Court.
 08/01/2023   EPH   25073     7.5   340   2550 Attend evidentiary hearing on Plaintiffs Expedited Motion for Preliminary Injunction
 08/01/2023   EJL   25073    10.5   600   6300 Attend preliminary injunction hearing and follow up conversations with Colin Thompson
                                                 regarding strategy as to proposed findings of fact and conclusions of law.
 08/02/2023   ECT   25073     5.5   500   2750 Review McNeill social media posting regarding evidentiary hearing and making disparaging
                                               comments and review and revise demand to McNeill to remove and retract, correspondence
                                                 with opposing counsel regarding same, and conference with Ethan Loeb regarding same (1.7);
                                                 research for and draft Motion to file under seal as supplemental evidence Ms. McNeill's
                                                 disparaging social media posts after evidentiary hearing (3.8).


 08/02/2023   EPH   25073     1,6   340     544 Strategy conference with Elhan Loeb and Colin Thompson regarding proposed findings of fact
                                                 and conclusions of law and bench briefs for submittal to Judge (.7); draft proposed findings of
                                                fact and conclusions of law (.9).
 08/02/2023   KES   25073     72    285   2052 Meet and confer with Elliot Haney, Colin Thompson, and Ethan Loeb regarding the preliminary
                                                 injunction hearing and certain briefs that need to be submitted to the court (1.5) Review bench
                                                 memo prepared regarding prior breach as a defense (0.7); Conduct necessary legal research
                                                 regarding the ability to waive statutory employment rights (4.5); Prepare and draft bench brief
                                                 regarding the exclusion of declarations of former Head Kandy customers (0.5).


 08/02/2023   EJL   25073     1.4   600     840 Review latest positing by Ms McNeill and confer with Mr. Rosenbaum and Mr. Herschmann as
                                                 to strategy and filing with court (0.4); review and revise motion after conferring with court clerk
                                                 (0.4); attend strategy meeting with Colin Thompson and Elliot Haney and Kathryn Saienni (0.6).


 08/03/2023   ECT   25073     3,2   500   1600 Draft, review and revise Motion for Leave to File Motion for Supplemental Evidence Under Seal
                                                 (1.6); review and revise Motion to Leave to File Supplemental Evidence and requesting the
                                                 Court to issue interim relief pending ruling on Motion for Preliminary Injunction (1.2); multiple
                                                 conferences with Ethan Loeb regarding same (.4).

 08/03/2023   HAW   25073     0.4   250     100 Compile exhibits to motion filed under seal for the court to consider supplementary evidence
                                                 (-4)
 08/03/2023   EJL   25073     0.5   600    300 Review and revise motion to file under seal.
 08/04/2023   EPH   25073     1 1   340    374 Draft proposed findings of fact and conclusions of law (.7); Strategy conference with Kathryn
                                               Saienni regarding brief on admissibility of inconsistent statements ( 4).
 08/04/2023   KES   25073     42    285   1197 Prepare and draft bench brief regarding the exclusions of declarations of former Head Kandy
                                                 customers (0.9); Conduct necessary legal research regarding the admissibility of form
                                                 declarations (0.7); Conduct necessary legal research regarding the ability to waive statutory
                                                 employment rights (2.4).
 08/05/2023   ECT   25073       1   500    500 Receive and review McNeill’s Opposition to Motion to Seal and research additional case law
                                                 supporting request to file disparaging posts under seal and conference with Elhan Loeb
                                                 regarding same.
 08/06/2023   EPH   25073     6,8   340   2312 Draft proposed findings of fact and conclusions of law
 08/06/2023   KES   25073     1 3   285   370,5 Prepare and draft bench brief regarding the exclusion of declarations of former Head Kandy
                                                 customers,
 08/06/2023   EJL   25073     0.4   600    240 Review and revise proposed findings of fact and conclusions of law that is due to be filed per
                                                 Magistrate Strauss's directive.
 08/07/2023   ECT   25073     5.4   500   2700 Review, revise, and draft additions to proposed Order on Motion for Preliminary Injunction,
                                                 including findings of fact and conclusions of law, review transcript of hearing and admitted
                                                 exhibits for proper and accurate references in proposed Order, conference with Ethan Loeb
                                                 regarding proposed Order,
 08/07/2023   EPH   25073     4 4   340   1496 Research waiver of breach under Florida law (.6); Draft Plaintiff's Memorandum Regarding
                                                 Prior Material Breach Defense (3,0).
 08/07/2023   EJL   25073       1   600    600 Review and revise proposed injunction order and provide same to client.
 08/07/2023   KES   25073     0.7   285   199 5 Prepare and draft bench brief regarding the exclusion of declarations of former Head Kandy
                                                 customers.
 08/08/2023   EPH   25073     1.6   340     544 Review and revise bench memorandum regarding admissibility of unreliable declarations.

 08/08/2023   KES   25073       1   285    285 Prepare and draft bench brief regarding the exclusions of declarations of former Head Kandy
                                               customers (1.0).
 08/08/2023   ECT   25073    4.4    500   2200 Additional revisions to proposed Order on Motion for Preliminary Injunction after conferences
                                               with Ethan Loeb and finalize same filing (.8); review, revise and draft additional sections of
                                                 Memorandum regarding inapplicability of the Prior Material Breach Defense (2.5); review,
                                                 revise, and draft additional sections of Memorandum regarding weight to be given by court to
                                                 declarations of former customers in light of hearsay nature of statements, which are
                                                 contradicted by statements they made in response to social media posts by Kayla McNeill (1.1).


 08/08/2023   HAW   25073     0.2   250      50 Draft notice of filing power point opening presentation (.2)
 08/08/2023   EJL   25073       1   600    600 Review and revise proposed injunction, memorandum on prior breach, and notice of conflicting
                                               evidence for McNeill Declarants (1 ,0)
 08/09/2023   ECT   25073     08    500    400 Review and analyze McNeill's Memorandum regarding Prior Material Breach and her Proposed
                                               Findings of Fact and Conclusions of Law and conference with Elhan Loeb regarding same

 08/14/2023   ECT   25073      2    500   1000 Conference with Ethan Loeb in preparation tor hearing for closing arguments on Motion for
                                                 Preliminary Injunction and regarding Amex charges, Ms. McNeill's communications regarding
                                                 obtaining Amex card for business and identify and review charges on Amex for Ms. McNeill's
                                                 other business ventures (2,0).
 08/15/2023   EJL   25073       2   600   1200 Continue to prepare for closing/legal arguments before the court.
 08/15/2023   KES   25073     2.6   285    74 1 Conduct necessary legal research regarding the underlying contracts in cases cited by
                                                 opposing counsel in their memorandum of law in support of application of the prior breach
                                                 doctrine (1.3); Conduct necessary legal research regarding the application of Florida Statute
                                                 542.335 (1.1).
 08/16/2023   KES   25073     3.3   285   940.5 Conduct necessary legal research regarding the underlying contracts in cases cited by
                                                 opposing counsel in their memorandum of law in support of application of the prior breach
                                                 doctrine (2.6); Conduct necessary legal research regarding the application of Florida Statute
                                                 542.335 (0.7).
 08/16/2023   EJL   25073      2    600   1200 Prepare for closing argument (2.0)
 08/16/2023   HAW   25073     0.3   250      75 Compile posts by Gina Gazzinga from Whipi Warriors page
Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 13 of
                                       45
 08/17/2023   EJL   25073    6.5    600   3900 Prepare for closing argument on preliminary injunction (4.5); prepare and revise opposition to
                                                motion to continue hearing due to opposing counsel’s family issues and communicate with
                                                Colin Thompson as to same (2 0)
 08/17/2023   ECT   25073    2.6    500   1300 Conferences with Ethan Loeb regarding discovery hearing, McNeill’s request to postpone final
                                                arguments on Preliminary Injunction Hearing and discovery hearing and draft opposition to
                                                Defendant’s Motion to Continue Hearings (2.6).
 08/17/2023   HAW   25073    0.3    250     75 Compile exhibits, finalize, file and serve response in opposition to emergency motion to
                                                continue hearing (.3)
 08/24/2023   EPH   25073    33     340   1 122 Prepare for hearing on Head Kandy's Motion for Preliminary Injunction.
 08/24/2023   ECT   25073    65     500   3250 Review and analyze McNeill's Brief on Prior Breach Defense and proposed findings of fact and
                                                conclusions of law to outline any remaining issues about which the Court may inquire and
                                                request legal argument during the final hearing (1.5); meeting with Ethan Loeb and research
                                                various legal issues and evidentiary support in preparation for final arguments on Motion for
                                                Preliminary Injunction (4-6); telephone conference with Jon Rosenbaum regarding Facebook
                                                live post by Kayla McNeill discussing lawsuit and upcoming final hearing on Preliminary
                                                Injunction and watch portions of live session (,4),


 08/24/2023   EJL   25073    5.1    600   3060 Prepare for hearing on preliminary injunction motion (4.8); review video from Kayla McNeill
                                                (0.3).
 08/25/2023   ECT   25073    7.2    500   3600 Final preparations with Ethan Loeb for and attend final hearing on Motion for Preliminary
                                                Injunction.
 08/25/2023   EJL   25073    75     600   4500 Finalize preparation for and attend hearing on motion of preliminary injunction (7.5);
 08/25/2023   HAW   25073    0.4    250     100 Compile materials in advance of hearing on motion for preliminary injunction
 09/05/2023   EPH   25073    0.5    340     170 Strategy conference with Ethan Loeb regarding impact of impending order on Motion for
                                                Preliminary Injunction,
 09/12/2023   KES   25073    0.6    285     171 Review and analyze magistrate's report and recommendation.
 09/12/2023   ECT   25073    1.4    500    700 Receive, review and conference with Ethan Loeb regarding Magistrate’s Report and
                                                Recommendation on Motion for Preliminary Injunction and next steps.
 09/12/2023   EJL   25073      1    600    600 Review order on injunction and confer with Eric Herschmann and Jon Rosenbaum as to
                                                strategy (separate conversations) (1.0)
 09/13/2023   ECT   25073    2.4    500   1200 Review Report and Recommendation regarding bond requirement and draft additional
                                                discovery to Ms. McNeill seeking information identified by court relevant to selling amount of
                                                bond required
 09/13/2023   KES   25073    2.5    285   712.5 Meet and confer with Ethan Loeb regarding the bond issue from the report and
                                                recommendation (0.3); Conduct necessary legal research regarding the proper calculation of
                                                the bond (2,2).
 09/14/2023   ECT   25073    0.9    500    450 Review, revise and draft additional sections of letter to McNeill demanding removal of social
                                               media posts and videos that violation preliminary injunction and restrictive covenants of
                                                Employment Agreement ( 9)
 09/14/2023   KES   25073    2.3    285   655.5 Prepare and draft letter to Kayla McNeill's counsel demanding the deletion of videos, posts,
                                                and comments in violation of the report and recommendation (1.9); Review judge’s report and
                                                recommendation in conjunction with drafting the demand letter to Kayla McNeill's counsel (0.4).


 09/14/2023   JAL   25073    0,6    290     174 Research enforceability of Report & Recommendations on a preliminary injunction and whether
                                                there are consequences for failure to comply before the Report & Recommendation is adopted.

 09/15/2023   ECT   25073    0.2    500     100 Revisions to and finalize letter to opposing counsel to confirm compliance with Report and
                                                Recommendation on Motion for Preliminary Injunction
 09/15/2023   EJL   25073    0.2    600     120 Review letter to Anthony Converse regarding compliance with injunction order and have same
                                                delivered (0.2)
 09/18/2023   ECT   25073           500     500 Conference with Ethan Loeb regarding outstanding discovery requests and ability to enforce
                                                Report and Recommendation on Motion for Preliminary Injunction and review research
                                                regarding same.
 09/19/2023   JAL   25073    1.2    290     348 Conduct additional research re enforceability of R&R and update team on findings.
 09/20/2023   SMM   25073    0.3    325    97.5 Communicate and confer with Jalen LaRubbio and Colin Thompson regarding Head Kandy
                                                motion for permanent injunctive relief,
 09/20/2023   EJL   25073    2.3    600   1380 Attend extended call with opposing counsel regarding settlement and discovery related issues.

 09/20/2023   ECT   25073    32     500   1600 Conferences with Ethan Loeb and Jalen LaRubbio regarding, and brief research regarding,
                                                Motion for Temporary Restraining Order and Motion for Expedited Consideration of same while
                                                 the parties await the District Court's Oder on the Report and Recommendation recommending
                                                granting the Preliminary Injunction (1.0); extended Zoom conference with opposing counsel
                                                regarding potential settlement,-requirements of the court’s report and recommendation on
                                                Motion for Preliminary Injunction and regarding McNeill's objections and responses io discovery
                                                requests (2.3)


 09/20/2023   JAL   25073      7    290   2030 Review previous outline/draft of TRO motion and discuss strategy with Colin Thompson (.5);
                                                conduct research and draft motion for expedited TRO (6.5),
 09/21/2023   KES   25073       1   285     285 Meet and confer with Ethan Loeb and Elliot Haney regarding the procurement of affidavits from
                                                previous Head Kandy employees (0.3); Call with former Head Kandy employee, Nicole Cook
                                                 (0 7).
 09/22/2023   JAL   25073     1.1   290     319 Search for cases and other legal support for the idea that continued online presence of
                                                 offending statements would violate the anticipated injunction, and update team on findings.


 09/25/2023   JAL   25073    4.4    290    1276 Discuss draft TRO motion, necessary edits, and case strategy with Colin Thompson (.2); edit
                                                 draft of TRO motion to correct factual background, and conduct additional research and bolster
                                                 argument that the defendant should be required to remove existing violative posts (4.2).


 09/26/2023   ECT   25073    2.8    500    1400 Revisions to and draft additional sections of Motion to Temporary Injunction and alternatively
                                                for inclusion in response to McNeill's anticipated Objections to Magistrate’s Report and
                                                Recommendations on Motion for Preliminary Injunction.
 09/26/2023   JAL   25073    0.3    290      87 Review Colin Thompson's changes to TRO motion.
 09/27/2023   EJL   25073    0.7    600     420 Review objections to report and recommendation and confer with Colin Thompson.
 09/27/2023   JAL   25073       1   290     290 Review defendant's objections to Report & Recommendation (.8); research district court's
                                                standard of review for objections to Report & Recommendation (.2)
 09/28/2023   ECT   25073    0.6    500     300 Conference with Jalen LaRubbio regarding response to McNeill’s objections to Magistrate's
                                                 Report and Recommendations on Motion for Preliminary Injunction and directions regarding
                                                 same and incorporation of arguments from Motion for TRO into Response.


 09/28/2023   JAL   25073    0.9    290     261 Annotate defendant's objections to Report & Recommendation (.4); discuss response to
                                                objections to Report & Recommendation with Colin Thompson (.3); research deadline and
                                                page limit on response to objections to Report & Recommendation under Local Rules (.2).


 09/29/2023   EJL   25073    0.2    600     120 Review and respond to email from Jerome Fa lie regarding status and issues with Kayla McNeill
                                                 objection to court order and injunction.
 09/29/2023   JAL   25073    4.5    290    1305 Research and draft response to defendant's objections to Report & Recommendations (4.3);
                                                 discuss strategy regarding same with Colin Thompson ( 2)
Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 14 of
                                       45

  09/30/2023   EJL   25073    0.2    600           120 Conference with Jon Rosenbaum regarding status of lawsuit and McNeill injunction objections.

  10/01/2023   JAL   25073      2    290           580 Research and draft response to defendant's objections to Report & Recommendations


  10/02/2023   JAL   25073    7.2    290          2088 Research and draft response to defendant's objections to Report & Recommendations.

  10/03/2023   JAL   25073      4    290          1160 Research and draft response to defendant's objections to Report & Recommendation (3.8);
                                                       discuss same wilh Colin Thompson (.2).
  10/04/2023   ECT   25073    3.6    500          1800 Review and revise and finalize for filing Response lo Defendant's Objections lo Magistrate’s
                                                          Report and Recommendations (3.1); review and revise proposed Order on Motion for
                                                          Preliminary Objection for District Court Judge lo adopl findings of magistrate and enjoin McNeill
                                                          (.5)
  10/04/2023   EJL   25073    1.4    600           840 review and finalize Head Kandy opposition lo R&R objeclions filed by Kayla McNeill
  10/04/2023   JAL   25073    4 1    290          1189 Review Colin Thompson changes to response to objections lo Report & Recommendation (.3);
                                                       discuss proposed order and draft response with Colin Thompson (10); research requirements
                                                       and draft proposed order (2.8).
  10/16/2023   ECT   25073    09     500           450 Conferences with Elhan Loeb Jalen LaRubbio regarding supplemental briefing on bond amount
                                                          as requested by lhe court and previous discovery requests sent by Head Kandy lo obtain
                                                          evidence necessary for court to determine bond amount lo which McNeil objected and outline
                                                          argument for briefing (.9).
  10/17/2023   ECT   25073    3.7    500          1850 Preparation for and altend Zoom conference with opposing counsel to meet and confer
                                                          regarding bond and McNeil's outstanding discovery violations as required by Court Order,
                                                          including identification of missing texl messages lo aid in discussion and follow up email
                                                          correspondence with opposing counsel after meet and confer (2.4); conferences wilh Jalen
                                                          LaRubbio regarding and providing direction fordrafting supplemental memorandum on bond
                                                          amount requested by the court and review research and documents regarding same (1.3).


  10/17/2023   EJL   25073    0.2    600           120 Conference with Colin Thompson regarding meeting wilh Antonio Converse (counsel for
                                                          McNeill) regarding court order on bond discussion.
  10/17/2023   JAL   25073    6.8    290          1972 Research and draft brief on amount of preliminary injunction bond (5.3); participate in call with
                                                          opposing counsel re amount of bond (1.0); discuss bond briefing and call wilh ECT (.5),


  10/18/2023   KES   25073    0.3    285           85.5 Review Kayla McNeill's Facebook videos to support Head Kandy's briefing regarding the bond
                                                          amount.
  10/18/2023   ECT   25073    03     5p0           150 1 Review McNeil social media posting regarding revenue from WhipiCo to use in supporting
                                                          supplemental memorandum in support of no or nominal bond to secure preliminary injunction.


  10/18/2023   JAL   25073    1.7    290           493 Finalize draft brief on amount of preliminary injunction bond.
  10/19/2023   ECT   25073    1.3    500           650 Zoom conference with opposing counsel to continue court ordered meet and confer regarding
                                                       bond issue and McNeil's failure to produce text messages and follow up correspondence to
                                                          document discussion.
  10/19/2023   EJL   25073    1.2    600           720 Attend call with Colin Thompson and Antonio Converse (counsel for McNeill) regarding bond
                                                       issue and discovery related matters per the court’s orders. (0.7); conference with Colin
                                                          Thompson as to same (0.5).
  10/19/2023   JAL   25073    3.8    290          1102 Participate in second conferral with opposing counsel re bond issue and discuss same with
                                                          Ethan Loeb and Colin Thompson (1.5); update Ethan Loeb via email on bond/discovery issues
                                                          status (.2); revise draft of bond briefing and send to Colin Thompson (2,1).


  10/20/2023   ECT   25073    3.1    500          1550 Correspondence with opposing counsel regarding McNeil's objection to producing additional
                                                       evidence to prove amount of bond requirement and agreement not to attempt to introduce into
                                                          the record any additional evidence (,6); review, revise and finalize Supplemental briefing on
                                                          amount of bond as required by the Court (2.5).
  10/23/2023   JAL   25073    1.1    290           319 Find cases discussing difficulty of obtaining injunction (1.1)


TOTAL                        565.6         $ 234,786.50
Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 15 of
                                       45




                  APPENDIX B
4/16/24,Case
        2:49 PM0:23-cv-60345-JB              Document     467-20
                                               E. Colin Thompson     Entered
                                                                 - BARTLETT,    onHINDS,THOMPSON
                                                                             LOEB, FLSD Docket&12/02/2024
                                                                                                 ANGELOS, PLLC Page 16 of
                                                                      45




                                                                                                    ⇦ Back

                                                                 E. Colin


                                                                 Thompson
                                                                 Partner
                                                                 ColinT@blhtlaw.com
                                                                 (813) 223-3888


                         Areas of Practice:


                         Complex Business
                         Litigation


                         Colin Thompson partners with and counsels clients through all stages of
                         disputes: working to efficiently avoid and resolve disputes pre-suit; trying
                         to judges and juries those disputes that cannot be otherwise resolved;
                         and, presenting, defending against, and arguing appeals. Disputes he
                         works to help his clients resolve routinely involve breaches of contract,
                         property rights, construction defects, real estate transactions, franchise
                         issues, and other matters. Colin’s practice also includes defending
                         companies against putative consumer and employee class actions
                         involving claims of deceptive and unfair trade practices, statutory
                         violations, product liability, and mass torts.


                         Colin is an experienced and effective trial attorney. He came to Bartlett,
                         Loeb, Hinds & Thompson after practicing for over 12 years in the Tampa
https://blhtlaw.com/blht_team/e-colin-thompson/                                                                             1/6
4/16/24,Case
        2:49 PM0:23-cv-60345-JB              Document     467-20
                                               E. Colin Thompson     Entered
                                                                 - BARTLETT,    onHINDS,THOMPSON
                                                                             LOEB, FLSD Docket&12/02/2024
                                                                                                 ANGELOS, PLLC Page 17 of
                                                                      45
                         and Miami offices of one of the largest law firms in the world, of which he
                         served as the Litigation Training Partner for the Florida offices. He has
                         first-chaired significant jury and non-jury trials, represented clients in
                         arbitration hearings, and represented clients in and argued appeals
                         before Florida district courts of appeal and the United States Eleventh
                         Circuit Court of Appeals. Colin’s jury-trial experience includes a variety of
                         complex business disputes and consumer class actions. At the appellate
                         level, Colin has obtained for clients affirmance of trial court orders and
                         verdicts, and reversals of trial court class certification orders. Appellate
                         decisions he helped his clients obtain have clarified and placed limits on
                         class claims asserted under the Florida Deceptive and Unfair Trade
                         Practices Act and have been cited by commentators, litigants and courts
                         throughout the country in support of tighter bounds on claims brought
                         under states’ “Little FTC Acts.”
                         ​


                         Education


                         University of Florida Levin College of Law, J.D. 2003 (cum laude)
                         University of Florida Fisher School of Accounting, M.S. 2003
                         University of Florida, B.S., (Accounting) B.S. 1999
                         University of Florida Hall of Fame (Class of 2003)
                         Florida Blue Key, President, Fall, 2002
                         Florida Blue Key Treasurer, Spring, 2002
                         ​


                         Bar + Court Admissions


                         Florida
                         United States Court of Appeals for the Eleventh Circuit
                         United States District Court for the Middle District of Florida
                         United States District Court for the Southern District of Florida
                         United States District Court for the Northern District of Florida
                         United States Bankruptcy Court for the Middle District of Florida
                         ​


                         Awards + Recognitions




https://blhtlaw.com/blht_team/e-colin-thompson/                                                                             2/6
4/16/24,Case
        2:49 PM0:23-cv-60345-JB              Document     467-20
                                               E. Colin Thompson     Entered
                                                                 - BARTLETT,    onHINDS,THOMPSON
                                                                             LOEB, FLSD Docket&12/02/2024
                                                                                                 ANGELOS, PLLC Page 18 of
                                                                      45
                         Colin has been rated AV-Preeminent, the highest rating attainable, by the
                         Martindale-Hubbell Law Directory. In reviewing him, clients describe Colin
                         as a “hard-working, ethical, cost-conscience litigator” who “works
                         relentlessly on your behalf.”​


                         Professional Memberships


                                  American Bar Association
                                      Co-Chair, Emerging Issues Subgroup of the Class Action and
                                      Derivative Suits Committee (2015-present)
                                      Co-Chair, Web Editors Subgroup of the Class Action and
                                      Derivative Suits Committee (2015-present)
                                  The Florida Bar
                                  Hillsborough County Bar Association Young Lawyers Division
                                  James Maddison Institute, Tampa Bay Board of Advisors (2015-
                                  present)


                         Publications


                                  Author, “Sixth Circuit Approves Certification of Classes to Pursue
                                  Plaintiffs’ ‘Snake Oil’ Theory of Liability,” News and Developments,
                                  Class Actions & Derivative Suits Committee website, a publication of
                                  the American Bar Association, Section of Litigation (September 21,
                                  2015)
                                  Author, “Seventh Circuit Rejects Third Circuit’s ‘Heightened’
                                  Ascertainability Analysis,” News and Developments, Class Actions &
                                  Derivative Suits Committee website, a publication of the American
                                  Bar Association, Section of Litigation (August 18, 2015)
                                  Author, “The Circuits Clash Over Class Action Ascertainbility,” Law
                                  360.com (August 7, 2015)
                                  Author, “Eleventh Circuit Rules in Karhu v. Vital
                                  Pharmaceuticals,” News and Developments, Class Actions &
                                  Derivative Suits Committee website, a publication of the American
                                  Bar Association, Section of Litigation (July 17, 2015)
                                  Author, “Eleventh Circuit Doesn’t Coral Small-Dollar Class
                                  Actions,” com (Expert Analysis, June 24, 2015)
                                  Co-author, ”After Concepcion, Is Your ‘New’ Arbitration Agreement
                                  Still Enforceable?” Class Actions & Derivative Suits
https://blhtlaw.com/blht_team/e-colin-thompson/                                                                             3/6
4/16/24,Case
        2:49 PM0:23-cv-60345-JB              Document     467-20
                                               E. Colin Thompson     Entered
                                                                 - BARTLETT,    onHINDS,THOMPSON
                                                                             LOEB, FLSD Docket&12/02/2024
                                                                                                 ANGELOS, PLLC Page 19 of
                                                                      45
                                  Newsletter (Winter 2015, Vol. 25, No. 2), a publication of the
                                  American Bar Association, Section of Litigation (with Amy Reagan)
                                  Co-author, ”Recent Developments Affecting Corporate Counsel,”
                                  Tort Trial and Insurance Practice Law Journal (Fall 2010)




                         Presentations + Seminars


                                  Faculty Presenter: “Hit Me Again!” It’s Class Actions 21, I mean 2-0-1,
                                  Discovery in Class Actions, American Bar Association 20th Annual
                                  National Institute on Class Actions (October 2016).
                                  Visiting Instructor, “Impact Litigation, Class Action and Social
                                  Change”, Universidad Panamericana, Mexico City, Mexico
                                  (November 2015)
                                  Presenter, ”Post-Concepcion Developments in the Enforcement of
                                  Arbitration and Class Waiver Provisions,” Bridgeport National Class
                                  Action Conference, Miami, Florida, February 6, 2015
                                  Visiting Instructor, “Impact Litigation, Class Action and Social
                                  Change”, Universidad Panamericana, Mexico City, Mexico
                                  (November 2014)
                                  Visiting Instructor, “Impact Litigation, Class Action, and Social
                                  Change”, Tecnológico de Monterrey, Mexico City, Mexico (November
                                  2014)


                         Select Past Cases + Decisions

                                  Porsche Cars North America, Inc. v. Diamond et al., 140 So. 3d 1090
                                  (Fla. 3d DCA 2014), review denied by, 2014 WL 7005011 (Fla. 2014)
                                  (decertifying class seeking to assert claims for violation of the
                                  Florida Deceptive and Unfair Trade Practices Act and Unjust
                                  Enrichment)
                                  The city of St. Petersburg v. Total Containment, Inc., et al., 2010. 265
                                  F.R.D. 630 (S.D. Fla. 2010) (denying plaintiffs’ motion to certify
                                  classes seeking over $5 billion in damages)
                                  Kia Motors America Corp. v. Butler, 985 So. 2d 1133 (Fla. 3d DCA
                                  2008), review denied by, 999 So.2d 644 (Fla. Dec 16, 2008)



https://blhtlaw.com/blht_team/e-colin-thompson/                                                                             4/6
4/16/24,Case
        2:49 PM0:23-cv-60345-JB              Document     467-20
                                               E. Colin Thompson     Entered
                                                                 - BARTLETT,    onHINDS,THOMPSON
                                                                             LOEB, FLSD Docket&12/02/2024
                                                                                                 ANGELOS, PLLC Page 20 of
                                                                      45
                                  (decertifying class seeking to assert claims for violation of the
                                  Florida Deceptive and Unfair Trade Practices Act)
                                  Castellanos v. Pfizer, Inc., et al., Case No. 07-60646-CIV, 2008 WL
                                  2323876 (S.D. Fla. 2008) (dismissing RICO and conspiracy claims)




https://blhtlaw.com/blht_team/e-colin-thompson/                                                                             5/6
4/16/24,Case
        2:49 PM0:23-cv-60345-JB              Document     467-20
                                               E. Colin Thompson     Entered
                                                                 - BARTLETT,    onHINDS,THOMPSON
                                                                             LOEB, FLSD Docket&12/02/2024
                                                                                                 ANGELOS, PLLC Page 21 of
                                                                      45




     We are trial lawyers who practice successfully in a variety of areas, with a primary focus on complex business
     litigation. Other prominent practice areas include eminent domain, real property and land use litigation, appellate,
     class actions, intellectual property, and the exposure of government overreach and corruption.




     Contact Us                                                     Quick Links




     100 North Tampa St                                             ABOUT
     Suite 2050
     Tampa, FL 33602                                                PRACTICE AREAS

     P 813-223-3888
                                                                    ATTORNEYS
     F 813-228-6422
     info@blhtlaw.com                                               NOTABLE VICTORIES

     ~
                                                                    APOLOGIES DEMANDED
     819 SW Federal Highway
     Suite 300                                                      ANNOUNCEMENTS

     Stuart, FL 34994
                                                                    NEWS
     P (772) 252-3000
                                                                    CONTACT




     Copyright © 2024 BARTLETT, LOEB, HINDS,THOMPSON & ANGELOS,
     PLLC | Website by Playbook Public Relations




https://blhtlaw.com/blht_team/e-colin-thompson/                                                                             6/6
4/16/24,Case
        2:48 PM0:23-cv-60345-JB               Document
                                                  Ethan J. 467-20     Entered
                                                           Loeb - BARTLETT, LOEB,on FLSD Docket
                                                                                 HINDS,THOMPSON    12/02/2024
                                                                                                & ANGELOS, PLLC Page 22 of
                                                                       45




                                                                                                     ⇦ Back

                                                                  Ethan J.


                                                                  Loeb
                                                                  Partner
                                                                  EthanL@blhtlaw.com
                                                                  (813) 223-3888




                         Areas of Practice:


                         Complex Business
                         Litigation




                         Education

                         Stetson University College of Law, J.D., 2003
                         University of South Florida, B.S. (Business Administration), 2000


                         Bar + Court Admissions

                         Florida


https://blhtlaw.com/blht_team/ethan-j-loeb/                                                                                  1/6
4/16/24,Case
        2:48 PM0:23-cv-60345-JB               Document
                                                  Ethan J. 467-20     Entered
                                                           Loeb - BARTLETT, LOEB,on FLSD Docket
                                                                                 HINDS,THOMPSON    12/02/2024
                                                                                                & ANGELOS, PLLC Page 23 of
                                                                       45
                         U.S. District Courts, Middle, Northern and Southern Districts of Florida
                         U.S. Court of Appeals, 11th Circuit


                         Awards + Recognitions

                         Stetson Law Review, Recent Developments Editor
                         Florida Bar’s City, County and Local Government Law Section Student
                         Award, 2003
                         Stetson Law Review, Outstanding Associate Award, 2002
                         William F. Blews Pro Bono Service Award, 2003
                         Award of Distinction for Research Assistant, 2003
                         Cecil C. and Augusta M. Bailey Endowed Scholarship Fund Recipient
                         Super Lawyer Rising Star. 2011, 2013 – 2017
                         2020 Lawyer of the Year – Litigation – Tampa (as published in Best
                         Lawyers)


                         Publications + Speeches


                         Recent Developments, Barley v. South Florida Water Management
                         District, 32 STETSON LAW REVIEW 561 (2003)
                         Recent Developments, SMM Properties, Incorporated v. City of North
                         Lauderdale, 31 STETSON LAW REVIEW 509 (2002)


                         Notable Cases

                         DecisionHR USA, Inc. v. William Mills, III, et al, 341 So.3d 448 (Fla. 2d DCA
                         2022).
                         Toucan Partners, LLC v. Hernando County, 2014 WL 3036937 (11th Cir.
                         2014)
                         State of Florida v. Florida Gas Transmission Company, LLC, 126 So. 3d
                         1095 (Fla. 4th DCA 2012)
                         Schwarz v. City of Treasure Island, 544 F.3d 1201 (11th Cir. 2008)
                         Morrispring Natural Water Corp. v. Levy County, 978 So. 2d 162 (Fla. 1st
                         DCA 2008)
                         Matthews et al. v. City of Maitland, 923 So. 2d 591 (Fla. 5th DCA 2006)
                         Maggy Hurchalla v. Lake Point Phase I, LLC and
                         Lake Point Phase II, LLC, 278 So.3d 58 (Fla 4th DCA 2019)
                         Florida Gas Transmission Company, LLC v. Johnson, 264 So. 3d 336 (Fla 1st


https://blhtlaw.com/blht_team/ethan-j-loeb/                                                                                  2/6
4/16/24,Case
        2:48 PM0:23-cv-60345-JB               Document
                                                  Ethan J. 467-20     Entered
                                                           Loeb - BARTLETT, LOEB,on FLSD Docket
                                                                                 HINDS,THOMPSON    12/02/2024
                                                                                                & ANGELOS, PLLC Page 24 of
                                                                       45
                         DCA 2019)
                         Maggy Hurchalla et. al. v. Homeowners Choice Property and Casualty
                         Insurance Company Inc, 281 So. 3d 510 (Fla 4th DCA 2019)


                         Verdicts and Settlements


                         2022. Successful recovery (pre-suit) on behalf of victim of employment and
                         gender discrimination by City of Tampa Councilman Orlando Gudes.
                         Before initiating litigation, obtained maximum amount under Florida
                         Sovereign Immunity Statute and signed apology letter from City of
                         Tampa’s Mayor, Ms. Jane Castor.


                         2022. Lead counsel on successful appeal involving case of first impression
                         under Florida’s APEX doctrine in corporate context. In response to the
                         recent amendment by the Florida Supreme Court, obtain a favorable
                         appellate decision outlining the factors necessary to engage in deposition
                         discovery of high-ranking corporate officers.


                         2022. Successful resolution of Public Records Dispute with Former City of
                         Tampa Councilman John Dingfelder. After initiating litigation against Mr.
                         Dingfelder, the case settled resulting in Mr. Dingfelder’s official resignation
                         from public office as a City Councilman and the issuance of a signed
                         apology letter for engaging in behavior contrary to the Florida Public
                         Records Act.


                         2022. $25,000,000 settlement on behalf of national multi-family owner
                         against private country club for engaging in malicious prosecution in a civil
                         action.


                         2020. Successful class action defense (on merits and class certification) in
                         Louisiana on behalf of financial services company. In addition to
                         successful defense of claims, obtained a public apology letter from the
                         Southern Poverty Law Center for initiating litigation against the Firm’s
                         client.


                         2019. $425,000 recovery against the City of Tampa for unlawful
                         discrimination under the Fair Housing Act.
https://blhtlaw.com/blht_team/ethan-j-loeb/                                                                                  3/6
4/16/24,Case
        2:48 PM0:23-cv-60345-JB               Document
                                                  Ethan J. 467-20     Entered
                                                           Loeb - BARTLETT, LOEB,on FLSD Docket
                                                                                 HINDS,THOMPSON    12/02/2024
                                                                                                & ANGELOS, PLLC Page 25 of
                                                                       45

                         2018. $4,400,000 jury verdict on behalf of mining business against the
                         environmental activist, Maggy Hurchalla. Affirmed on appeal.


                         2018. Final judgment following a week-long trial in favor of International
                         supplement manufacturer on federal and state trademark infringement
                         claims, tortious interference claims, and Deceptive and Unfair Trade
                         Practice claims. Successful finding on counterclaim for the deceptive
                         practice of medicine.


                         2017. Final judgment in favor of company against Martin County for
                         violating the Florida Public Records Act. Three county commissioners were
                         subsequently indicted by a grand jury for violating public records laws.


                         2016. Successful arbitration resulting in entry of final judgment on behalf
                         of Pinellas County business declaring ownership rights to the private
                         beach against the State of Florida’s Trustees of the Internal Improvement
                         Trust Fund.


                         2015. $750,000 recovery (zoning entitlements and damages) on behalf of
                         sober living residence against City of Bunnell for discrimination claims in
                         the United States District Court under the federal Fair Housing Act.


                         2014. $3,500,000 recovery ($2,400,000 cash and $1,100,000 in
                         development entitlements) following jury verdict on behalf of
                         rehabilitation facility against local government for intentional
                         discrimination under Federal Fair Housing Act.


                         2014. $10,418,000 state court jury verdict on behalf of landowner against
                         the State of Florida Department of Environmental Protection.


                         2013. $18,500,000 recovery on behalf of natural gas company against the
                         State of Florida.


                         2013. Federal court jury verdict finding intentional discrimination against
                         Hernando County under Federal Fair Housing Act.

https://blhtlaw.com/blht_team/ethan-j-loeb/                                                                                  4/6
4/16/24,Case
        2:48 PM0:23-cv-60345-JB               Document
                                                  Ethan J. 467-20     Entered
                                                           Loeb - BARTLETT, LOEB,on FLSD Docket
                                                                                 HINDS,THOMPSON    12/02/2024
                                                                                                & ANGELOS, PLLC Page 26 of
                                                                       45

                         2012. $475,000 recovery on behalf of local medical clinic against billing
                         company for breach of contract.


                         2011. $82,697,567 state court jury verdict on behalf of natural gas
                         company against the state of Florida. Verdict affirmed on appeal.


                         2010. $3,725,000 settlement following a federal jury verdict on behalf of
                         alcohol rehabilitation clinic against the City of Treasure Island.


                         2009. $110,000 total recovery following a state court jury verdict for
                         wrongful demolition of home by City of Tampa.


                         2008. Successful defense of approximately $50,000,000 vested rights and
                         taking claim following a four day trial on behalf of Northern Florida local
                         government.




      We are trial lawyers who practice successfully in a variety of areas, with a primary focus on complex business
      litigation. Other prominent practice areas include eminent domain, real property and land use litigation, appellate,
      class actions, intellectual property, and the exposure of government overreach and corruption.




      Contact Us                                                     Quick Links




      100 North Tampa St                                             ABOUT
      Suite 2050
      Tampa, FL 33602
https://blhtlaw.com/blht_team/ethan-j-loeb/                                                                                  5/6
4/16/24,Case
        2:48 PM0:23-cv-60345-JB               Document
                                                  Ethan J. 467-20     Entered
                                                           Loeb - BARTLETT, LOEB,on FLSD Docket
                                                                                 HINDS,THOMPSON    12/02/2024
                                                                                                & ANGELOS, PLLC Page 27 of
                                                                       45
      P 813-223-3888                                                 PRACTICE AREAS
      F 813-228-6422
      info@blhtlaw.com                                               ATTORNEYS

      ~
                                                                     NOTABLE VICTORIES
      819 SW Federal Highway
      Suite 300                                                      APOLOGIES DEMANDED

      Stuart, FL 34994
                                                                     ANNOUNCEMENTS
      P (772) 252-3000
                                                                     NEWS

                                                                     CONTACT




      Copyright © 2024 BARTLETT, LOEB, HINDS,THOMPSON & ANGELOS,
      PLLC | Website by Playbook Public Relations




https://blhtlaw.com/blht_team/ethan-j-loeb/                                                                                  6/6
Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 28 of
                                       45
Elliot Parker Haney                             (407) 756-3004 • ehaney14@gmail.com

Legal Experience
Bartlett, Loeb, Hinds, Thompson & Angelos – Tampa, FL                                     April 2021-Present
Associate Attorney
Manage and oversee case load for boutique commercial litigation firm handling high-stakes litigation for
commercial clients. Daily tasks include drafting motions, taking depositions of fact and expert witnesses, arguing
hearings on dispositive and non-dispositive motions, preparing fact and expert witnesses for deposition and trial,
communicating with clients and opposing counsel, preparing trial materials, and overseeing the implementation
of case strategy. Appeared as counsel in evidentiary proceedings before federal, state and administrative courts,
prepared legal briefs for various state appellate courts and the Florida Supreme Court, and has significant
experience preparing for and attending trial in state and administrative courts as legal support.

Cotney Attorneys & Consultants – Tampa, FL                                                 August 2019-April 2021
Associate Attorney
(Previously: Summer Associate, May 2018-August 2018)
Associate attorney in nationally recognized law firm focusing on labor, employment and complex commercial
litigation. Manage high-volume case load in state court, federal court, and institutional arbitration, independently
deposing fact and expert witnesses, drafting and arguing dispositive motions, negotiating settlement and
conducting overall litigation strategy.

Rebein Brothers PA, Tampa, FL                                                              May 2017-August 2017
Law Clerk

The Rivas Law Firm, Winter Park, FL                                                        May 2016-August 2016
Legal Case Manager

The Umansky Law Firm, Orlando, FL                                                          May 2015-August 2015
Runner/Legal Assistant

Education
University of Florida Levin College of Law, Gainesville, FL                                     May 2019
Juris Doctor (GPA: 3.49; Class Rank: 72 of 330; Top 25%)
    • Deans List (Fall 2016, Spring 2017, Spring 2018, Fall 2018)
    • Book Award: International Commercial Arbitration (Fall 2018)
    • Journal of Law & Public Policy, General Editor
    • International Commercial Arbitration Moot Court Team
            o 2019 Moot Shanghai – Best Team; Honorable Mention Best Oralist
            o 2019 Willem C. Vis International Commercial Arbitration Competition (Hong Kong, SAR) –
                Second Runner-up Best Oralist

Florida State University, Tallahassee, FL                                                               May 2016
Bachelor of Science in Political Science and Philosophy
    • Deans List (Spring 2015, Spring 2016)
    • Political Columnist, The Odyssey: FSU and The Odyssey National

Memberships and Admissions
Florida State Bar (2019)
U.S. District Court for the Northern District of Florida
U.S. District Court for the Middle District of Florida
U.S. District Court for the Southern District of Florida

Recorded Decisions
Godwin v. Michelini, 371 So. 3d 973 (Fla. 2d DCA 2023)
Gay v. Jupiter Island Compound, LLC, 358 So. 3d 780 (Fla. 4th DCA 2023)
Testa v. Town of Jupiter Island, 360 So. 3d 722 (Fla. 4th DCA 2023)
Geddes v. Jupiter Island Compound, LLC, 341 So. 3d 353 (Fla. 4th DCA 2022)
    Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 29 of
                                           45
                                                      KATHRYN SAIENNI
                                        798 46th Avenue North, Saint Petersburg, FL 33703
                                             (941) 400-3489 ksaienni@law.stetson.edu

EDUCATION
Stetson University College of Law, Gulfport, Florida
Juris Doctor, cum laude                                                                                                  May 2022
GPA:             3.535 Rank: 31/239 (Top 13.5%)
Honors:          Dean’s List and Honor Roll, all eligible semesters; Highest Grade Designation, Research and Writing I and Trial
                 Advocacy; Darby Dickerson SLAAC Scholarship; Judge John M. Scheb Scholarship; James C. Hauser Memorial
                 Scholarship; Stetson Lawyers Association Scholarship, Order of the Scribes Award, Victor O. Wehle Award in Trial
                 Advocacy
Activities:      Stetson Law Review, Articles & Symposia Editor; Teaching Assistant, Research and Writing I & II; Phi Delta Phi;
                 Florida Association for Women Lawyers, Stetson Law Chapter; Local Government Clinic

University of Tampa, Tampa, Florida
Bachelor of Arts, cum laude, Musical Theatre                                                                       May 2014
GPA:              3.57
Honors:           Department of Speech, Theatre, and Dance Scholarship Award; Dean’s Scholarship Award; Kennedy Center
                  American College Theatre Festival Scholarship Nominee
Activities:       Alpha Psi Omega, Women’s Glee Club, Participation in the Theatre and Dance Programs

EXPERIENCE
United States District Court for the Middle District of Florida, Fort Myers, Florida                          April 2024–Present
Judicial Law Clerk
    o Conduct legal research regarding civil issues and prepare draft orders.

Bartlett Loeb Hinds & Thompson, Tampa, Florida                                                         December 2022–January 2024
Associate Attorney
    o Drafted and prepared pre-trial motions, briefs, and discovery for complex, high stakes civil cases focusing on commercial,
         eminent domain, real estate, land use, intellectual property, and class action litigation.
    o Conducted document review for discovery purposes.

Bryant Miller Olive, Tampa, Florida                                                                October 2022–November 2022
Associate Attorney
    o Served as general counsel and represented local municipalities in various litigation.

City of Saint Petersburg, St. Petersburg, Florida                                                         January 2022–March 2022
Certified Legal Intern
    o Conducted legal research, assisted with litigation matters, observed judicial proceedings, and drafted legal documents.

Bartlett Loeb Hinds & Thompson, Tampa, Florida                                                          May 2020–March 2022
Law Clerk
    o Conducted legal research for complex, high-stakes civil cases focusing on commercial, eminent domain, real estate, land use,
         intellectual property, and class action litigation.
    o Drafted and prepared motions, briefs, and inter-office memorandums of law.

United States District Court for the Middle District of Florida, Tampa, Florida                            January 2021–April 2021
Judicial Intern to Magistrate Judge Sean P. Flynn
    o Conducted legal research regarding civil issues, drafted and prepared orders, and observed judicial proceedings.

Easterseals Florida, Tampa, Florida                                                                    November 2018–July 2019
Development Assistant
    o Planned and executed a fundraising event that raised over $145,000.

COMMUNITY
Gulfcoast Legal Services, St. Petersburg, Florida                                                   August 2020–November 2020
Student Volunteer
    Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 30 of
                                           45
                                                 JALEN A. LARUBBIO
                                                  (386) 451-9264 | jalarubbio@gmail.com


CLERKSHIP
U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF FLORIDA, Pensacola, FL                                August 2021 to August 2023
Law Clerk to the Honorable T. Kent Wetherell, II
Draft opinions and orders at all stages of a variety of complex civil matters, including antitrust, breach of contract, insurance,
trademark and copyright infringement, restrictive covenant and trade secret, labor and employment, business tort, and civil rights
cases. Prepare for civil and criminal trials. Author bench memos concerning loss causation in a securities fraud suit and the
contractual rights of parties following a merger in preparation for Judge Wetherell’s sitting by designation on the Eleventh Circuit.

LEGAL EXPERIENCE
BARTLETT LOEB HINDS THOMPSON & ANGELOS, Tampa, FL                                                            August 2023 to present
Associate Attorney
Litigate cases for boutique commercial litigation firm handling high-stakes matters. Draft pleadings, discovery requests and
responses, motions, and trial and appellate briefs; prepare trial and hearing materials; communicate with clients and opposing
counsel; prepare for and attend trials and hearings as legal support; and participate in formulation of case strategy.

U.S. DEPARTMENT OF JUSTICE, Washington, DC                                                                              Spring 2021
Legal Intern, National Courts Section

U.S. CONSUMER PRODUCT SAFETY COMMISSION, Bethesda, MD                                                          Summer & Fall 2020
Legal Intern, Division of Enforcement and Litigation

U.S. DISTRICT COURT FOR THE DISTRICT OF MARYLAND, Greenbelt, MD                                                            Fall 2019
Judicial Intern to the Honorable Paul W. Grimm

U.S. DEPARTMENT OF VETERANS AFFAIRS, Washington, DC                                                                   Summer 2019
Legal Intern, Office of General Counsel

EDUCATION
THE GEORGE WASHINGTON UNIVERSITY LAW SCHOOL, Washington, DC                                                               May 2021
J.D., with honors (GPA: 3.661; class rank: 97/547, top 18%)
Journal:         The George Washington Law Review, Managing Editor
Activities:      Alternative Dispute Resolution Board
                 Research Assistant to Professor Michael Abramowicz
                 Entertainment & Sports Law Association
                 Tutoring (Property)

UNIVERSITY OF SOUTH FLORIDA, Tampa, FL                                                                                    May 2018
B.A., Economics and Political Science
Honors College

PUBLICATIONS
Essay, Permissible Derogation: The Common Law and Agency Interpretations Under Chevron, 89 Geo. Wash. L. Rev. 1261
(2021).

MEMBERSHIPS AND ADMISSIONS
New York State Bar (2022)
Florida State Bar (2022)
U.S. District Court for the Middle District of Florida
U.S. District Court for the Southern District of Florida
Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 31 of
                                       45




                  APPENDIX C
   Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 32 of
                                          45




From: E. Colin Thompson <ColinT@blhtlaw.com>
Sent: Thursday, April 25, 2024 10:07 AM
To: Zemel, Franklin L. <franklin.zemel@saul.com>
Cc: Ethan J. Loeb <EthanL@blhtlaw.com>; Heather A. Wilfong <heatherw@blhtlaw.com>
Subject: Head Kandy- Billing Judgment

**EXTERNAL EMAIL** - This message originates from outside our Firm. Please consider carefully before
responding or clicking links/attachments.


Franklin:

During our call on April 17, 2024, you asked me whether and to what extent the firm has written off or reduced fees
billed to Head Kandy and whether and to what extent billable work was not billed to Head Kandy. I have now had
the opportunity to review “pre-bills” and the bills submitted and paid by Head Kandy and offer the following:

1.     All time entered by individual timekeepers for work on the Head Kandy matter is reviewed prior to including
any time on the monthly bill. We routinely “write down” or write off” time entries using our billing judgment. I
have reviewed the firm’s records for the relevant time period, June through October 2023, and confirmed the
following amount of time worked by firm timekeepers was “written down” or “written off” and, therefore, not
charged to Head Kandy:



June- 3.8 hours
July- 19.4 hours
August- 29.3 hours
September- 1.1 hours
October- .2 hours
 TOTAL- 53.8 hours worked, but not charged to Head Kandy for June – October, 2024.

2.      The “write down” and “write offs” for July and August include 10.3 hours of time for Elliot Haney, one of
three attorneys who attended the Evidentiary Hearing on August 1, 2023. That time consisted of 2.8 hours Mr.
Haney spent preparing exhibits and documents for the hearing on July 31, 2023, and 7.5 hours attending the
hearing on August 1, 2023. We used our billing judgment so Head Kandy would be charged for only two attorneys
for the August 1, 2023, hearing, not for all three attorneys who appeared for Head Kandy at the hearing.

3.      The July 2023 also includes a $15,230.32 “Courtesy Discount.” That discount was provided to account for
inefficiencies that likely resulted from the last-minute necessary cancellation of the evidentiary hearing as
originally set. The cancellation was required due to Head Kandy’s lead counsel, Ethan Loeb, testing positive for
COVID the day before the originally scheduled hearing.



                                                         1
   Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 33 of
                                          45
4.     In reviewing all “write downs” and “write offs” as you requested, I realized the original billing entries we
provided to you included as a charge Elliott Haney’s 10.3 hours on 7/31 and 8/1. That is because the write off of
that amount was done after entry of the time into the billing system. I have attached to this e-mail a revised
printout of our time that now properly shows “N/C” for Elliot Haney on 7/31 and 8/1. The net effect was to reduce
the total of the attorneys’ fees billed to Head Kandy for June through October, 2023, from $234,785.50 to
$230,999.50.


E. Colin Thompson
Bartlett, Loeb, Hinds, Thompson & Angelos
100 North Tampa Street, Suite 2050
Tampa, FL 33602
Main: 813.223.3888
Direct: 813.865.1366
Fax: 813.228.6422
ColinT@BLHTlaw.com
Legal Assistant: Kerri Rick
KerriR@BLHTlaw.com
www.BLHTlaw.com




Colin Thompson
Bartlett Loeb Hinds Thompson & Angelos
100 N. Tampa St., Suite 2050
Tampa, Fl. 33062
Direct: (813) 865-1366

Sent from my iPad




                                                         2
Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 34 of
                                       45




                  APPENDIX D
                      Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 35 of
                                                             45

Entry Date      Timekeeper    Matter      Hours         Rate         Amount         Narrative

   06/21/2023   EPH           25073               1.3          340             442 , Review and analyze McNeill's Response in Opposition to Motion for Preliminary Injunction for
                                                                                    purposes of drafting Reply in Support of Motion for Preliminary Injunction (1.0); Strategy
                                                                                    conference with Colin Thompson regarding Reply in Support of Motion for Preliminary
                                                                                    Injunction (.3).

   06/21/2023   KES           25073               4.5          285        1282.5 Meet and confer with Colin Thompson regarding upcoming preliminary injunction hearing (0.4);
                                                                                    Conduct necessary legal research regarding the admissibility of social media comments and
                                                                                    posts in the context of hearsay exceptions (2.9); Conduct necessary legal research regarding
                                                                                    the authentication of posts and comments made on social media (1 .2)


   06/21/2023   HAW           25073               0 9          250             225 Compile evidence and preparation of for June 28th evidentiary hearing (.9)
   06/22/2023   EJL           25073                 1          600             600 Conference with Colin Thompson regarding issues identified in McNeill opposition to injunction,
                                                                                   including First Breach defense and other contractual arguments
   06/22/2023   ECT           25073               7.5          500            3750 Receive and review McNeill’s Opposition to Motion for Preliminary Inunction and exhibits
                                                                                   attached thereto and conferences with Ethan Loeb and Mr. Rosenbaum regarding same (1 .9);
                                                                                    review case law cited in McNeill's Opposition and direct legal research for Reply to Opposition
                                                                                    (1.1); review legal research regarding authentication of Facebook comments and posts (.5); e-
                                                                                    mail and telephone correspondence with opposing counsel regarding potential stipulations as
                                                                                    to admissibility of certain evidence at hearing on Motion for Preliminary Injunction (.8); initial
                                                                                    review of list of social media videos to be relied on at evidentiary hearing and cull from same
                                                                                    (.8); review legal research to rebut McNeill's argument she is not bound by restrictive
                                                                                    covenants due to Head Kandy's alleged prior material breaches of agreement (.5);
                                                                                    identification of non-video posts to be added to exhibit list for use at evidentiary hearing (.8);
                                                                                    draft working exhibit list (1.1).


   06/22/2023   EPH           25073               6.3          340            2142 Research caselaw cited by McNeill in Response in Opposition to Motion for Preliminary
                                                                                   Injunction and analyze distinguishing factors for purposes of drafting Reply in Support of
                                                                                   Motion for Preliminary Injunction (2.6); Research enforceability of no-contest provision in
                                                                                    employment agreement (1.3); Research procedure to consider prior breach in motion for
                                                                                    preliminary injunction (.6); Research rebuttable presumption of irreparable harm utilized by
                                                                                    federal courts (.7); Research caselaw related to legitimate business interests protected by
                                                                                    restrictive covenants (1.1).

   06/22/2023   KES           25073               4.3          285        1225.5 Meet and confer with Colin Thompson regarding upcoming preliminary injunction hearing (0.3);
                                                                                    Conduct necessary legal research regarding the admissibility of social media comments and
                                                                                    posts in the context of hearsay exceptions (1.2); Prepare power point presentation comparing
                                                                                    Head Kandy products with those marketed by Kayla McNeill (2 8)


   06/22/2023   HAW           25073               3.5          250             875: Compilation of comments to social media posts (2.5); draft notice of filing and intent to use
                                                                                    summaries (.2); preparation for evidentiary hearing (.5); prepare witness and exhibit list (.3)


   06/23/2023   ECT           25073               8 6          500            4300 ; Review and revise Notice of Intent to Use Summaries of Facebook and TikTok comments and
                                                                                    review compiled summaries for service on opposing counsel (.8); review and edit cuts of
                                                                                    Facebook and TikTok videos for use at evidentiary hearing (2.4); identification of additional
                                                                                    comments from customers stating they will no longer purchase HK products after specific
                                                                                    social media posts and telephone and email correspondence with Ms. McDermaid regarding
                                                                                    additional customer and sales data needed for evidentiary hearing (1 .6); continue compiling
                                                                                    and preparing evidence for evidentiary hearing (3.8).


   06/23/2023   EPH           25073               7.3          340            2482 Draft Motion to File Business Records Under Seal (1 .2); Research applicability of prior restraint
                                                                                   jurisprudence to injunction proceedings requesting enforcement of contract (1 .4); Draft Reply in
                                                                                    Support of Motion for Preliminary Injunction (4.7).
   06/23/2023   HAW           25073                8           250            2000 Compilation of evidence and preparation for June 28th evidentiary hearing
                   Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 36 of
                                                          45

06/25/2023   ECT           25073             5.8     500    2900 ; Analysis of additional daily sales data received and request hourly sales data to support
                                                                  declines in sales after McNeill posts and receive and review same from Ms. McDermaid (1.3);
                                                                  continue compiling evidence and presentation materials for evidentiary hearing, focusing on
                                                                  evidence of damages and irreparable harm, including data showing loss of particular
                                                                  customers and loss of sales revenues and orders (1.1); review and revise Reply to McNeill's
                                                                  Opposition to Motion for Preliminary injunction (2.1); begin drafting of outline for direct
                                                                  examanination of Jonathan Rosenbaum of evidentiary hearing (1.3).


06/25/2023   EPH           25073             3.9     340    1 326 Continue drafting Reply in Support of Motion for Preliminary Injunction.
06/25/2023   EJL           25073             3.4     600    2040 : Review reply to motion for preliminary injunction and provide revisions to same (1.0); prepare
                                                                   for hearing on preliminary injunction (2.0); conference with Colin Thompson as to financial
                                                                   proof and impact of Ms. McNeill on social media to Head Kandy revenue streams (0.4).


06/25/2023   HAW           25073             2.5     250     625 Preparation of exhibits for June 28th evidentiary Hearing
06/26/2023   EPH           25073             2.9     340     986 Review and revise Reply in Support of Motion for Preliminary Injunction (2.3); Review and
                                                                 revise Motion to File Business Records Under Seal (.4); Draft proposed Order Granting Motion
                                                                 to File Business Records Under Seal (.2).
06/26/2023   KES           25073             5.4     285    1 539 Prepare and draft evidentiary authentication bench brief (1.7); Review and analyze additional
                                                                  Facebook comments authored by former Head Kandy customers (2.3); Input data and prepare
                                                                  graph demonstrating the historical sales of certain former Head Kandy customers (1 .4)


06/26/2023   ECT           25073            12.6     500    6300 1 Multiple correspondence with Ms. McDermaid and Ms. Pletis regarding detailed sales data to
                                                                   support harm claim and preparation of final evidence of same for evidentiary hearing (3.4);
                                                                   meeting with Ethan Loeb in preparation for evidentiary hearing, including finalizing opening
                                                                   presentation, evidence for presentations, evidence to be introduced through witness, and
                                                                   review, revisions and finalizing of exhibit list and final exhibits and review of case law for
                                                                  argument on legal points at evidentiary hearing (8.2).
06/26/2023   EJL           25073             9.8     600    5880 1 Continue to prepare for injunction hearing, including selection and review of exhibits and
                                                                   exhibit list, preparation for Kayla McNeill cross examination, and finalizing opening
                                                                  statement/demonstrative slide deck.
06/26/2023   HAW           25073             10      250    2500 : Preparation for June 28 evidentiary hearing
06/27/2023   ECT           25073             4.8     500    2400 Continue drafting of outline for direct examination of Jonathan Rosenbaum, including tying in of
                                                                  exhibits for introduction through or discussion with Mr. Rosenbaum Receive and initial review
                                                                  of McNeill’s exhibit and witness lists and certain filed exhibits (3.4); receive and review
                                                                  McNeill’s Exhibit and Witness List and review exhibits on which McNeill intends to rely at
                                                                  evidentiary hearing, including affidavits and declarations from third parties and conference with
                                                                  Ethan Loeb regarding same (1.4).
06/27/2023   KES           25073               8     285    2280 Review defendant's exhibit list (1.2); Prepare and draft hearsay bench brief for the preliminary
                                                                  injunction hearing (1 .4); Meet and confer with Colin Thompson regarding defendant’s exhibit
                                                                  list (0.2); Conduct necessary legal research regarding hearsay exceptions for social media
                                                                  comments (5.0); Call with Angela Porta (Head Kandy affiliate) regarding defendant's exhibit list
                                                                  (0.2).
06/27/2023   EJL           25073               1     600     600 Review date specific videos of Ms. McNeill, including April 2023 time frame when she was
                                                                  working with Bo Stegall.
06/27/2023   HAW           25073             1.5     250     375. Preparation for June 28th evidentiary hearing
06/28/2023   ECT           25073             0.4     500     200 Conferences with Ethan Loeb regarding exhibits and declarations on which Ms. McNeill intends
                                                                  to rely at hearing on Motion for Preliminary Injunction and contents of Facebook posts from Ms.
                                                                  McNeill and comments of declarants that contradict declarations.


06/28/2023   KES           25073             0.1     285     28.5 ’ Review defendant’s exhibit list.
06/29/2023   EJL           25073               2     600;   1 200 1 Continue to prepare stipulated facts per court order (2.0)
06/30/2023   KES          .25073             0.5     285    142.5 1 Meet and confer with Heather Wilfong regarding the extraction of Facebook comments for the
                                                                  exhibit list (0.5);
                   Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 37 of
                                                          45

06/30/2023   EPH          25073              1.3    340     442 Research caselaw regarding witness tampering related to service of third party subpoenas
                                                                 (1.3)
06/30/2023   EJL          25073               1     600     600 Continue with stipulated facts per court order (1 .0)
07/02/2023   EPH          25073              1.5    340     510 Continue research related to potential obstruction and witness tampering (.8); Draft letter to
                                                                opposing counsel regarding potential obstruction and witness tampering (.7).
07/03/2023   ECT          25073             0.3     500     1 50 1 Review and revise cease and desist letter to opposing counsel regarding Ms. McNeill's aiding
                                                                   and abetting witnesses to avoid service of subpoenas
07/03/2023   EJL          25073             2.5     600    1 500 : Review and revise letter to opposing counsel regarding McNeill's interference with subpoenas
                                                                 and provide same to client for review and approval (0.5); continue with stipulated facts per
                                                                 court order (2.0).
07/05/2023   ECT          25073              1.6    500     800 Review, revise, and add to draft set of Stipulated Facts requested by the Court in advance of
                                                                 hearing on Motion for Preliminary Injunction.
07/05/2023   EJL          25073               2     600    1 200 ; Finalize stipulated facts.
07/06/2023   ECT          25073              1.9    500     950; Review of Exhibits produced by McNeill, including ten declarations from individuals and cross
                                                                 reference of declarants to those who made comments to certain Facebook posts (1 .0); review,
                                                                 revise, conference with Ethan Loeb, and correspondence with opposing counsel regarding
                                                                 proposed Stipulated Facts (.9).
07/06/2023   EJL          25073               2     600    1 200 '! Review exhibits and list from Kayla McNeill and confer with Colin Thompson regarding
                                                                 objections to comply with court order.
07/07/2023   ECT          25073             3.8     500    1900 Zoom conferences with Messrs. Falic, Rosenbaum, Feldman and Taney and Ethan Loeb
                                                                 regarding bonuses under McNeill’s Executive Employment Agreement and status in
                                                                 preparation for hearing on Motion for Preliminary Injunction and conference with Ethan Loeb
                                                                 regarding strategy regarding bonus statements (0.8); Per court order, identify objections to Ms.
                                                                 McNeill's proposed exhibits for hearing on Motion for Preliminary Injunction, including watching
                                                                 multiple proposed videos and listening to proposed audio messages (2.2); Telephone
                                                                 conference with opposing counsel to review proposed stipulated facts and objections to
                                                                 exhibits (0.8).

07/07/2023   EJL          25073             0.5     600     300 Conference call with opposing counsel to discuss stipulated facts and exhibits (0.5)
07/10/2023   ECT          25073              1.9    500     950 : Correspondence with Ethan Loeb regarding and review and revise proposed disputed issues
                                                                  for court’s resolution requested by the court and correspondence with opposing counsel
                                                                  transmitting same (.6); review, revisions and comments to McNeill’s counsel’s revisions to
                                                                  proposed stipulated facts (1 .3)
07/11/2023   ECT          25073             2.5     500    1250 Review McNeill's proposed amended Exhibit List and correlate to prior list and objections to
                                                                prior list (1 .5); Telephone conference with all counsel as required by the Court to discuss
                                                                stipulated facts, objections to exhibits, and issues to be tried and multiple email
                                                                correspondence with opposing counsel regarding same (1.0); Conference with Ethan Loeb
                                                                 regarding stipulated facts (0.5-N/C).
07/11/2023   KES          25073               6     285    1710 Search Facebook comments made by affiants identified in Ms. McNeill’s Exhibit List and
                                                                 prepare and draft document comparing affiants’ Facebook comments and statements made in
                                                                 their affidavits.
07/11/2023   EJL          25073             2.5     600    1500 .Attend conference with opposing counsel re stipulated facts and exhibit list (1 .0); review redline
                                                                 version of stipulated facts from opposing counsel and communicate about the same with Colin
                                                                 Thompson (1.5)
07/11/2023   HAW          25073             0.7     250     175 : Preparation of exhibit list for objections to defendants exhibits (.2); begin drafting joint exhibit
                                                                 list (.5)
07/12/2023   ECT          25073              1.4    500     700 i Review revised stipulated facts from opposing counsel, confer with Ethan Loeb regarding
                                                                 same, and propose additional revisions to stipulated facts (.8); review and revise proposed
                                                                 Joint Exhibit List per multiple calls and correspondence with opposing counsel (.3); receive and
                                                                 review McNeill’s objections and stipulations to Head Kandy’s proposed exhibits (.3).


07/12/2023   HAW          25073               2     250     500 Search Whippin Life Facebook page for comments made by Declarants identified by
                                                                 Defendants for temporary injunction hearing (2.0)
                   Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 38 of
                                                          45

07/12/2023   KES           25073             5.5    285   1567.5 Prepare and draft document comparing affiants' Facebook comments and statements made in
                                                                 their affidavits (0.2); Conduct necessary legal research regarding hearsay exceptions for
                                                                 Facebook comments (4.0); Prepare and draft memorandum of law outlining arguments in favor
                                                                 of hearsay exceptions in anticipation of preliminary injunction hearing (1 3).


07/13/2023   ECT           25073             5.2    500    2600 Receive and review McNeill's Expedited Motion for Leave to Supplement Exhibit List with
                                                                 additional declarations, review each declaration from purported former clients, research to draft
                                                                 response as required by court, review comments from declarants to show unreliability of
                                                                 declarations, and draft portions or, review, revise and finalize for filing Opposition to McNeill's
                                                                 Expedited Motion for Leave to Amend Exhibit List.
07/13/2023   EPH          25073              4.1    340    1394 Research causation requirement for preliminary injunction to enforce restrictive covenant (1.0);
                                                                 Draft Response in Opposition to McNeill's Motion for Leave to File Supplemental Declarations
                                                                 (2.2); Review social media comments by newly disclosed declarants and create chart
                                                                 comparing declarations with social media comments (.9).
07/13/2023   HAW          25073              2.6    250     650 Continue searches on Whippin Life Facebook page for comments made by Declarants
                                                                 identified by Defendants for temporary injunction hearing (2.3); compile exhibits, finalize, file
                                                                 and serve response in opposition to Defendants motion for leave to file exhibits (.3)


07/13/2023   KES          25073              6.5    285   1852.5 Conduct necessary legal research regarding hearsay exceptions for Facebook comments
                                                                 (1.0); Meet and confer with Colin Thompson regarding the response to defendant's motion for
                                                                 leave to supplement exhibit list (0.2); Prepare and draft opposition to motion to leave to
                                                                 supplement exhibit list (5.3).
07/13/2023   EJL          25073                1    600     600 Review and revise response to McNeill's motion to supplement exhibits per court order.


07/14/2023   ECT          25073              4.6    500    2300 Multiple email and document exchanges with opposing counsel to finalize Joint Exhibit List,
                                                                 Stipulations of Fact, Disputed Issues, and individual exhibit list and review, revise and finalize
                                                                 same for filing to comply with Court Order (4.6).
07/14/2023   HAW          25073                3    250     750 Review and revise joint exhibit list (.6); review and revise head Kandy exhibit list (.4); compile
                                                                 joint hearing exhibits (1.0); compile Head Kandy hearing exhibits (.5); finalize, file and serve
                                                                 stipulated facts and statement of issues for August 1st hearing (.2); finalize, file and serve joint
                                                                 exhibit list and plaintiff's exhibit list (.3)
07/14/2023   EJL          25073              1.4    600     840 Review final version of exhibit list, statement of issues, and stipulated facts for submission to
                                                                 court and communicate with Colin Thompson and opposing counsel throughout the day (1 .4)


07/17/2023   HAW          25073              4.4    250    1100 Finalize joint exhibits for August 1, 2023 hearing (2.3); update Head Kandy and McNeill
                                                                 exhibits for August 1 , 2023 hearing (1.0).
07/18/2023   EPH          25073              0.6    340     204 Strategy conference with Colin Thompson regarding prior breach defense (.2); Research
                                                                caselaw related to prior breach defense (.4)
07/18/2023   KES          25073              0.3    285     85.5 i Review judge's order to supplement the disputed factual issues (0.3)
07/18/2023   ECT          25073              4.2    500    21 00 Conferences with Ethan Loeb regarding Court’s order directing supplementation of issues
                                                                 regarding payment of bonuses (.3); telephone conference with Mr. Rosenbaum regarding claim
                                                                 by McNeill for bonuses owed and additional evidence regarding same (.2); additional research
                                                                 regarding ability of court to enforce restrictive covenants despite claims by party to be enjoined
                                                                 of prior breaches of the agreement (3.7).


07/18/2023   EJL          25073              0.9    600     540 : Conference with Colin Thompson regarding bonus related issues in light of court order
                                                                 requesting additional information (0.5) confer with Elliot Haney as to contract language in
                                                                 employment agreement related to bonus payment. (0.4).
                   Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 39 of
                                                          45

07/19/2023   ECT          25073              6.2    500    3100 Telephone conference with Jon Rosenbaum regarding McNeill’s claim for bonus and testimony
                                                                 to be presented at evidentiary hearing regarding same (0.2); review, annotate, and supplement
                                                                 Head Kandy exhibits for evidentiary hearing (2.6); draft additional portions of outline for direct
                                                                 examination of Jon Rosenbaum with supporting exhibits to account for McNeill’s prior material
                                                                 breach defense based on alleged non-payment of bonus and telephone calls with Mr.
                                                                 Rosenbaum regarding same (3.4).


07/19/2023   EPH          25073              2.9    340     986 Strategy conference with Colin Thompson regarding response to McNeill's statement of facts
                                                                (.3); Draft response to McNeill's statement of facts related to prior material breach (2.6).


07/19/2023   EPH          25073              2.3    340     782 Continue researching caselaw related to McNeill's prior breach defense.
07/19/2023   HAW          25073              0.7    250      175 Preparation for August 1st hearing (.7)
07/19/2023   KES          25073              4.5    285   1282.5 Conduct necessary legal research regarding whether Head Kandy’s potential breach of the
                                                                 employment agreement was “material" (4.0); Prepare and draft memorandum of law regarding
                                                                 whether Head Kandy's potential breach of the employment agreement was "material" (0.5).


07/20/2023   ECT          25073              9.1    500    4550 Review and perform additional legal research regarding prior material breach defense in
                                                                 employment context based on alleged failure to pay portion of compensation and conference
                                                                 with Ethan Loeb regarding same (2.8); draft additional portions of and revise outline of Mr.
                                                                 Rosenbaum to account for additional issues raised by McNeill in statement of defense issues,
                                                                 including follow up with Mr. Rosenbaum and Ms. Petri regarding loan balances and
                                                                 compensation to Ms McNeill and identify all exhibits to be potentially used in Mr. Rosenbaum's
                                                                 direct examination and cross at evidentiary hearing (6.3).


07/21/2023   ECT          25073             4.3     500    2150 Identify and compile all exhibits for use at evidentiary hearing and track to Joint Exhibit List and
                                                                 Head Kandy revised Exhibit List and revisions to outlines for evidentiary hearing (3.0); review
                                                                 exhibits to be offered by Kayla McNeill and objections thereto (1.3).


07/21/2023   EPH          25073             4.3     340    1462 Review and revise response to McNeill's statement of facts related to prior material breach
                                                                 (2.9); Research prior material breach doctrine as equitable defense (.4); Prepare visual aid
                                                                 showing inconsistent statements of McNeill's declarants for purposes of evidentiary hearing
                                                                 (1.0).
07/21/2023   HAW          25073              1.3    250     325 Preparation of exhibits and witness files for August 1st evidentiary hearing
07/21/2023   EJL          25073              0.4    600     240 Conference with Colin Thompson in connection with Jon Rosenbaum direct testimony outline
                                                                 and review of same (0.4).
07/24/2023   EJL          25073              1.6    600     960 Conference call with Jon Rosenbaum regarding testimony at preliminary injunction hearing
                                                                 (0.3); review and revise notice of issues on paragraph 4 per court order and confer with Colin
                                                                 Thompson and Elliot Haney as to same (1.3).
07/24/2023   HAW          25073             0.3     250       75 Draft motion and order to allow additional electronic equipment for August 1 , 2023 hearing (.3)


07/25/2023   EJL          25073             2.5     600    1500 Attend zoom call with Ryan Thompson to discuss text messages and other issues regarding
                                                                 Kayla McNeill theft and breach of fiduciary duties.
07/25/2023   EJL          25073             0.4     600     240 Conference with Ethan Loeb regarding evidence and legal arguments for preliminary injunction
                                                                 hearing
07/25/2023   KES          25073              1.2    285     342 Prepare and draft chart comparing statements made by the declarants in defendant’s exhibit
                                                                 list with their statements made on Facebook (and the corresponding statements made by
                                                                 Kayla McNeill).
07/25/2023   EPH          25073             3.8     340    1292 Continue preparing visual aid showing inconsistent statements of McNeill's declarants for
                                                                 purposes of evidentiary hearing (1.9); strategy conference with Ethan Loeb and Colin
                                                                 Thompson regarding response to opposing counsel's forthcoming motion to strike Head
                                                                 Kandy's response to statement of facts related to prior material breach (.3); Draft Head Kandy's
                                                                 Response to McNeill's Motion to Strike (1.6).
                   Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 40 of
                                                          45

07/26/2023   ECT          25073              0.3    500      150 Conference with Ethan Loeb regarding evidence and legal arguments for preliminary injunction
                                                                 hearing and deposition of Bo Stegall.
07/26/2023   KES          25073              6.5    285   1852.5! Prepare and draft chart comparing statements made by the declarants in defendant's exhibit
                                                                  list with their statements made on Facebook (and the corresponding statements made by
                                                                 Kayla McNeill) (6.5)
07/26/2023   EPH          25073              3.7    340    1258 '• Continue preparing visual aid showing inconsistent statements of McNeill's declarants for
                                                                 purposes of evidentiary hearing.
07/27/2023   EPH          25073              3.2    340    1088 Draft chart distinguishing caselaw cited by McNeill from caselaw cited by Head Kandy in
                                                                preparation for evidentiary hearing (2.4); Finalize visual aid showing inconsistent statements of
                                                                 McNeill's declarants for purposes of evidentiary hearing (.8)
07/27/2023   KES          25073              2.1    285    598.5 Prepare and draft chart comparing statements made by the declarants in defendant's exhibit
                                                                 list with their statements made on Facebook (and the corresponding statements made by
                                                                 Kayla McNeill) (2.1).
07/27/2023   HAW          25073              0.4    250      1 00 1 Review and revise opening powerpoint presentation for August 1 st hearing (.4)
07/28/2023   EJL          25073              5.5    600    3300 i Continue to prepare for hearing on preliminary injunction, including cross examination points
                                                                 for Kayla McNeill (5.5).
07/28/2023   HAW          25073              4.6    250    1150 Preparation for August 1 st evidentiary hearing (4.6)
07/28/2023   EPH          25073              6.3    340    2142: Draft bench memorandum regarding inapplicability of prior material breach defense (1.0); Draft
                                                                 bench memorandum regarding admissibility of customer social media comments (2.2); Review
                                                                 and revise bench memorandum regarding authenticity of social media comments (.3); Strategy
                                                                 conference with Ethan Loeb regarding arguments in opposition of prior material breach
                                                                 defense (1.5); Research contractual waiver of statutory rights (1.3).


07/29/2023   EJL          25073              2.5    600    1500 Continue with preparation for hearing on motion for preliminary injunction.
07/29/2023   HAW          25073              2.5    250     625 ' Compilation of contradictory comments for use at August 1 st hearing.
07/30/2023   ECT          25073              4.5    500    2250 In preparation for hearing on Motion for Preliminary Injunction, team meeting to review
                                                                 evidence and witness strategy, and identify, research and review case law on legal issues to
                                                                 be argued at hearing.
07/30/2023   EPH          25073              4.5    340    1 530 1 Strategy conference with Colin Thompson and Ethan Loeb in preparation for evidentiary
                                                                 hearing.
07/30/2023   EJL          25073                6    600    3600 ' Extended meeting with Colin Thompson in preparation for hearing on motion for preliminary
                                                                 injunction and continue with final preparations (4.5); Preparation of McNeill's impeachment
                                                                 evidence (1.5)
07/30/2023   HAW          25073              7.5    250    1875 Preparation for August 1st evidentiary hearing, including all exhibits, legal memoranda, witness
                                                                 files and impeachment evidence.
07/31/2023   HAW          25073              0.5    250      125 Review Defendants objections to Plaintiff's exhibits and update joint exhibit list (.5)
07/31/2023   EJL          25073              8.5    600    5100 Finalize preparation for preliminary injunction hearing, including meeting with Jon Rosenbaum
                                                                to prepare for trial testimony.
07/31/2023   ECT          25073                9    500    4500 Meeting with Ethan Loeb and Elliot Haney in preparation for hearing on Motion for Preliminary
                                                                 Injunction, meeting with Mr. Rosenbaum to prepare for testimony and cross examination, and
                                                                 review and revise outline and evidence for testimony of Mr. Rosenbaum.


07/31/2023   EPH          25073              2.8    340     N/C Prepare exhibits for use at evidentiary hearing (.4); Prepare evidentiary hearing (2.4)
07/31/2023   HAW          25073              2.2    250     550 Preparation for August 1st hearing (2.0); draft notice of objection to McNeill Joint Exhibit 114
                                                                 (.2)
08/01/2023   ECT          25073             11.5    500    5750 Preparation for and attend Preliminary Injunction hearing in Ft. Lauderdale and conference with
                                                                Ethan Loeb after hearing regarding legal memoranda, proposed findings of fact, and
                                                                 conclusions of law requested by the Court.
08/01/2023   EPH          25073              7.5    340     N/C Attend evidentiary hearing on Plaintiff's Expedited Motion for Preliminary Injunction.
08/01/2023   EJL          25073             10.5    600    6300 Attend preliminary injunction hearing and follow up conversations with Colin Thompson
                                                                 regarding strategy as to proposed findings of fact and conclusions of law.
                   Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 41 of
                                                          45

08/02/2023   ECT          25073              5.5    500    2750 I Review McNeill social media posting regarding evidentiary hearing and making disparaging
                                                                 comments and review and revise demand to McNeill to remove and retract, correspondence
                                                                 with opposing counsel regarding same, and conference with Ethan Loeb regarding same (1.7);
                                                                 research for and draft Motion to file under seal as supplemental evidence Ms. McNeill’s
                                                                 disparaging social media posts after evidentiary hearing (3.8).


08/02/2023   EPH          25073              1.6    340     544 Strategy conference with Ethan Loeb and Colin Thompson regarding proposed findings of fact
                                                                and conclusions of law and bench briefs for submittal to Judge (.7); draft proposed findings of
                                                                 fact and conclusions of law (.9).
08/02/2023   KES          25073              7.2    285    2052 Meet and confer with Elliot Haney, Colin Thompson, and Ethan Loeb regarding the preliminary
                                                                 injunction hearing and certain briefs that need to be submitted to the court (1.5) Review bench
                                                                 memo prepared regarding prior breach as a defense (0.7); Conduct necessary legal research
                                                                 regarding the ability to waive statutory employment rights (4.5); Prepare and draft bench brief
                                                                 regarding the exclusion of declarations of former Head Kandy customers (0.5).


08/02/2023   EJL          25073              1.4    600     840 1 Review latest positing by Ms. McNeill and confer with Mr. Rosenbaum and Mr. Herschmann as
                                                                 to strategy and filing with court (0.4); review and revise motion after conferring with court clerk
                                                                 (0.4); attend strategy meeting with Colin Thompson and Elliot Haney and Kathryn Saienni (0.6).


08/03/2023   ECT          25073              3.2    500    1600 Draft, review and revise Motion for Leave to File Motion for Supplemental Evidence Linder Seal
                                                                 (1.6); review and revise Motion to Leave to File Supplemental Evidence and requesting the
                                                                 Court to issue interim relief pending ruling on Motion for Preliminary Injunction (1.2); multiple
                                                                 conferences with Ethan Loeb regarding same (.4).


08/03/2023   HAW          25073              0.4    250     1 00 , Compile exhibits to motion filed under seal for the court to consider supplementary evidence
                                                                 (4)
08/03/2023   EJL          25073              0.5    600     300 : Review and revise motion to file under seal.
08/04/2023   EPH          25073              1.1    340     374 Draft proposed findings of fact and conclusions of law (.7); Strategy conference with Kathryn
                                                                 Saienni regarding brief on admissibility of inconsistent statements (.4).
08/04/2023   KES          25073             4.2     285    1197 Prepare and draft bench brief regarding the exclusions of declarations of former Head Kandy
                                                                 customers (0.9); Conduct necessary legal research regarding the admissibility of form
                                                                 declarations (0.7); Conduct necessary legal research regarding the ability to waive statutory
                                                                 employment rights (2.4).
08/05/2023   ECT          25073                1    500     500 Receive and review McNeill’s Opposition to Motion to Seal and research additional case law
                                                                supporting request to file disparaging posts under seal and conference with Ethan Loeb
                                                                 regarding same.
08/06/2023   EPH          25073              6 8    340    2312: Draft proposed findings of fact and conclusions of law.
08/06/2023   KES          25073              1.3    285    370.5 Prepare and draft bench brief regarding the exclusion of declarations of former Head Kandy
                                                                 customers.
08/06/2023   EJL          25073              0.4    600     240 Review and revise proposed findings of fact and conclusions of law that is due to be filed per
                                                                 Magistrate Strauss's directive.
08/07/2023   ECT          25073              5.4    500    2700 : Review, revise, and draft additions to proposed Order on Motion for Preliminary Injunction,
                                                                  including findings of fact and conclusions of law, review transcript of hearing and admitted
                                                                 exhibits for proper and accurate references in proposed Order, conference with Ethan Loeb
                                                                 regarding proposed Order,
08/07/2023   EPH          25073             4.4     340    1496 ' Research waiver of breach under Florida law (.6); Draft Plaintiff's Memorandum Regarding
                                                                 Prior Material Breach Defense (3.0).
08/07/2023   EJL          25073                1    600     600 1 Review and revise proposed injunction order and provide same to client.
08/07/2023   KES          25073             0.7     285    199.5 Prepare and draft bench brief regarding the exclusion of declarations of former Head Kandy
                                                                 customers
08/08/2023   EPH          25073              1.6    340     544 Review and revise bench memorandum regarding admissibility of unreliable declarations.
                   Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 42 of
                                                          45

08/08/2023   KES          25073               1     285     285 ; Prepare and draft bench brief regarding the exclusions of declarations of former Head Kandy
                                                                 customers (1.0).
08/08/2023   ECT          25073             44      500    2200 Additional revisions to proposed Order on Motion for Preliminary Injunction after conferences
                                                                with Ethan Loeb and finalize same filing (.8); review, revise and draft additional sections of
                                                                Memorandum regarding inapplicability of the Prior Material Breach Defense (2.5); review,
                                                                 revise, and draft additional sections of Memorandum regarding weight to be given by court to
                                                                 declarations of former customers in light of hearsay nature of statements, which are
                                                                 contradicted by statements they made in response to social media posts by Kayla McNeill
                                                                 (1.1).

08/08/2023   HAW          25073             02      250;      50 ; Draft notice of filing power point opening presentation (.2)
08/08/2023   EJL          25073                1    600     600 I Review and revise proposed injunction, memorandum on prior breach, and notice of conflicting
                                                                  evidence for McNeill Declarants (1.0)
08/09/2023   ECT          25073             0.8     500     400 ' Review and analyze McNeill’s Memorandum regarding Prior Material Breach and her Proposed
                                                                 Findings of Fact and Conclusions of Law and conference with Ethan Loeb regarding same.


08/14/2023   ECT          25073               2     500    1000 Conference with Ethan Loeb in preparation for hearing for closing arguments on Motion for
                                                                Preliminary Injunction and regarding Amex charges, Ms. McNeill's communications regarding
                                                                obtaining Amex card for business and identify and review charges on Amex for Ms. McNeill’s
                                                                 other business ventures (2.0).
08/15/2023   EJL          25073               2     600    1200 Continue to prepare for closing/legal arguments before the court.
08/15/2023   KES          25073             26      285     741 Conduct necessary legal research regarding the underlying contracts in cases cited by
                                                                opposing counsel in their memorandum of law in support of application of the prior breach
                                                                 doctrine (1.3); Conduct necessary legal research regarding the application of Florida Statute
                                                                 542.335 (1.1).
08/16/2023   KES          25073             3.3     285    940 5 Conduct necessary legal research regarding the underlying contracts in cases cited by
                                                                 opposing counsel in their memorandum of law in support of application of the prior breach
                                                                 doctrine (2.6); Conduct necessary legal research regarding the application of Florida Statute
                                                                 542.335 (0.7).
08/16/2023   EJL          25073               2     600    1200 Prepare for closing argument (2.0)
08/16/2023   HAW          25073             0.3     250       75 Compile posts by Gina Gazzinga from Whipi Warriors page
08/17/2023   EJL          25073              6.5    600    3900 Prepare for closing argument on preliminary injunction (4.5); prepare and revise opposition to
                                                                motion to continue hearing due to opposing counsel’s family issues and communicate with
                                                                 Colin Thompson as to same (2.0)
08/17/2023   ECT          25073              26     500    1300 Conferences with Ethan Loeb regarding discovery hearing, McNeill’s request to postpone final
                                                                arguments on Preliminary Injunction Hearing and discovery hearing and draft opposition to
                                                                Defendant’s Motion to Continue Hearings (2 6)
08/17/2023   HAW          25073              0 3    250       75 Compile exhibits, finalize, file and serve response in opposition to emergency motion to
                                                                 continue hearing (.3)
08/24/2023   EPH          25073              3.3    340    1 122 Prepare for hearing on Head Kandy’s Motion for Preliminary Injunction.
08/24/2023   ECT          25073              6.5    500    3250 . Review and analyze McNeill’s Brief on Prior Breach Defense and proposed findings of fact and
                                                                  conclusions of law to outline any remaining issues about which the Court may inquire and
                                                                  request legal argument during the final hearing (1 .5); meeting with Ethan Loeb and research
                                                                 various legal issues and evidentiary support in preparation for final arguments on Motion for
                                                                 Preliminary Injunction (4.6); telephone conference with Jon Rosenbaum regarding Facebook
                                                                 live post by Kayla McNeill discussing lawsuit and upcoming final hearing on Preliminary
                                                                  Injunction and watch portions of live session (.4).


08/24/2023   EJL          25073              5.1    600    3060 Prepare for hearing on preliminary injunction motion (4.8); review video from Kayla McNeill
                                                                 (0.3).
08/25/2023   ECT          25073              7.2    500    3600 Final preparations with Ethan Loeb for and attend final hearing on Motion for Preliminary
                                                                 Injunction.
08/25/2023   EJL          25073              7.5    600    4500 Finalize preparation for and attend hearing on motion of preliminary injunction (7.5);
08/25/2023   HAW          25073              0.4    250      100 Compile materials in advance of hearing on motion for preliminary injunction
                    Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 43 of
                                                           45

09/05/2023   EPH           25073             0.5     340     170 Strategy conference with Ethan Loeb regarding impact of impending order on Motion for
                                                                  Preliminary Injunction.
09/12/2023   KES           25073             0.6     285     171 Review and analyze magistrate's report and recommendation.
09/12/2023   ECT           25073              1.4    500     700 1 Receive, review and conference with Ethan Loeb regarding Magistrate's Report and
                                                                   Recommendation on Motion for Preliminary Injunction and next steps
09/12/2023   EJL           25073                1    600     600 1 Review order on injunction and confer with Eric Herschmann and Jon Rosenbaum as to
                                                                   strategy (separate conversations) (1.0)
09/13/2023   ECT           25073             2.4     500    1200 1 Review Report and Recommendation regarding bond requirement and draft additional
                                                                   discovery to Ms. McNeill seeking information identified by court relevant to setting amount of
                                                                  bond required
09/13/2023   KES           25073             2 5     285    712.5 Meet and confer with Ethan Loeb regarding the bond issue from the report and
                                                                  recommendation (0.3); Conduct necessary legal research regarding the proper calculation of
                                                                  the bond (2.2).
09/14/2023   ECT           25073             0.9     500     450 ; Review, revise and draft additional sections of letter to McNeill demanding removal of social
                                                                   media posts and videos that violation preliminary injunction and restrictive covenants of
                                                                  Employment Agreement (.9)
09/14/2023   KES           25073             2.3     285    655.5 1 Prepare and draft letter to Kayla McNeill’s counsel demanding the deletion of videos, posts,
                                                                    and comments in violation of the report and recommendation (1.9); Review judge's report and
                                                                    recommendation in conjunction with drafting the demand letter to Kayla McNeill's counsel (0.4).


09/14/2023   JAL           25073             0.6     290     174 Research enforceability of Report & Recommendations on a preliminary injunction and whether
                                                                 there are consequences for failure to comply before the Report & Recommendation is adopted.


09/15/2023   ECT           25073             02      500     1 00 ; Revisions to and finalize letter to opposing counsel to confirm compliance with Report and
                                                                  Recommendation on Motion for Preliminary Injunction
09/15/2023   EJL           25073             02      600      1 20 : Review letter to Anthony Converse regarding compliance with injunction order and have same
                                                                  delivered (0.2)
09/18/2023   ECT           25073                1    500     500 Conference with Ethan Loeb regarding outstanding discovery requests and ability to enforce
                                                                  Report and Recommendation on Motion for Preliminary Injunction and review research
                                                                  regarding same
09/19/2023   JAL           25073              1.2    290     348 Conduct additional research re enforceability of R&R and update team on findings.
09/20/2023   -SMM          25073             0.3     325     97.5 Communicate and confer with Jalen LaRubbio and Colin Thompson regarding Head Kandy
                                                                  motion for permanent injunctive relief.
09/20/2023   EJL           25073             2.3     600    1380 Attend extended call with opposing counsel regarding settlement and discovery related issues.


09/20/2023   ECT           25073             3.2     500    1600 Conferences with Ethan Loeb and Jalen LaRubbio regarding, and brief research regarding,
                                                                 Motion for Temporary Restraining Order and Motion for Expedited Consideration of same while
                                                                 the parties await the District Court’s Oder on the Report and Recommendation recommending
                                                                 granting the Preliminary Injunction (1 .0); extended Zoom conference with opposing counsel
                                                                 regarding potential settlement, -requirements of the court’s report and recommendation on
                                                                  Motion for Preliminary Injunction and regarding McNeill's objections and responses to
                                                                  discovery requests (2 3)


09/20/2023   JAL           25073                7    290    2030 Review previous outline/d raft of TRO motion and discuss strategy with Colin Thompson (.5);
                                                                  conduct research and draft motion for expedited TRO (6.5).
09/21/2023   KES           25073                1    285     285 Meet and confer with Ethan Loeb and Elliot Haney regarding the procurement of affidavits from
                                                                 previous Head Kandy employees (0.3); Call with former Head Kandy employee, Nicole Cook
                                                                  (0.7).
09/22/2023   JAL           25073              1.1    290     319 Search for cases and other legal support for the idea that continued online presence of
                                                                 offending statements would violate the anticipated injunction, and update team on findings.
                   Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 44 of
                                                          45

09/25/2023   JAL          25073              44     290    1276 Discuss draft TRO motion, necessary edits, and case strategy with Colin Thompson (.2); edit
                                                                draft of TRO motion to correct factual background, and conduct additional research and bolster
                                                                argument that the defendant should be required to remove existing violative posts (4.2).


09/26/2023   ECT          25073              2 8    500    1400 Revisions to and draft additional sections of Motion to Temporary Injunction and alternatively
                                                                for inclusion in response to McNeill's anticipated Objections to Magistrate's Report and
                                                                 Recommendations on Motion for Preliminary Injunction.
09/26/2023   JAL          25073              0.3    290       87 Review Colin Thompson's changes to TRO motion.
09/27/2023   EJL          25073              0.7    600     420 1 Review objections to report and recommendation and confer with Colin Thompson.
09/27/2023   JAL          25073                1    290     290 : Review defendant's objections to Report & Recommendation (.8); research district court's
                                                                  standard of review for objections to Report & Recommendation (.2)
09/28/2023   ECT          25073              06     500      300 1 Conference with Jalen LaRubbio regarding response to McNeill’s objections to Magistrate's
                                                                   Report and Recommendations on Motion for Preliminary Injunction and directions regarding
                                                                 same and incorporation of arguments from Motion for TRO into Response.


09/28/2023   JAL          25073              0.9    290     261 Annotate defendant's objections to Report & Recommendation (.4); discuss response to
                                                                objections to Report & Recommendation with Colin Thompson (.3); research deadline and
                                                                page limit on response to objections to Report & Recommendation under Local Rules (.2).


09/29/2023   EJL          25073              02     600      120 i Review and respond to email from Jerome Falic regarding status and issues with Kayla McNeill
                                                                 objection to court order and injunction.
09/29/2023   JAL          25073              4 5    290    1305 1 Research and draft response to defendant's objections to Report & Recommendations (4.3);
                                                                  discuss strategy regarding same with Colin Thompson (.2).
09/30/2023   EJL          25073              0.2    600      1 20 Conference with Jon Rosenbaum regarding status of lawsuit and McNeill injunction objections.


10/01/2023   JAL          25073                2    290      580 'Research and draft response to defendant's objections to Report & Recommendations.


10/02/2023   JAL          25073              7.2    290    2088 Research and draft response to defendant's objections to Report & Recommendations.


10/03/2023   JAL          25073                4    290    1 160 . Research and draft response to defendant's objections to Report & Recommendation (3.8);
                                                                   discuss same with Colin Thompson (.2).
10/04/2023   ECT          25073              3.6    500    1 800 Review and revise and finalize for filing Response to Defendant's Objections to Magistrate's
                                                                 Report and Recommendations (3.1); review and revise proposed Order on Motion for
                                                                 Preliminary Objection for District Court Judge to adopt findings of magistrate and enjoin
                                                                 McNeill ( 5)
10/04/2023   EJL          25073              1.4    600      840 . review and finalize Head Kandy opposition to R&R objections filed by Kayla McNeill
10/04/2023   JAL          25073              4.1    290    1189 Review Colin Thompson changes to response to objections to Report & Recommendation (.3);
                                                                discuss proposed order and draft response with Colin Thompson (1.0); research requirements
                                                                 and draft proposed order (2.8).
10/16/2023   ECT          25073              0.9    500     450 Conferences with Ethan Loeb Jalen LaRubbio regarding supplemental briefing on bond amount
                                                                as requested by the court and previous discovery requests sent by Head Kandy to obtain
                                                                evidence necessary for court to determine bond amount to which McNeil objected and outline
                                                                 argument for briefing (.9).
10/17/2023   ECT           25073             3.7    500     1850 Preparation for and attend Zoom conference with opposing counsel to meet and confer
                                                                 regarding bond and McNeil's outstanding discovery violations as required by Court Order,
                                                                 including identification of missing text messages to aid in discussion and follow up email
                                                                 correspondence with opposing counsel after meet and confer (2.4); conferences with Jalen
                                                                 LaRubbio regarding and providing direction for drafting supplemental memorandum on bond
                                                                 amount requested by the court and review research and documents regarding same (1.3).


10/17/2023   EJL           25073             0.2    600      1 20 i Conference with Colin Thompson regarding meeting with Antonio Converse (counsel for
                                                                    McNeill) regarding court order on bond discussion.
                      Case 0:23-cv-60345-JB Document 467-20 Entered on FLSD Docket 12/02/2024 Page 45 of
                                                             45

   10/17/2023   JAL           25073              6.8    290          1972 Research and draft brief on amount of preliminary injunction bond (5.3); participate in call with
                                                                             opposing counsel re amount of bond (1 .0); discuss bond briefing and call with ECT (.5).


   10/18/2023   KES           25073              0.3    285           85.5 i Review Kayla McNeill's Facebook videos to support Head Kandy's briefing regarding the bond
                                                                             amount.

   10/18/2023   ECT           25073              0.3    500            1 50 I Review McNeil social media posting regarding revenue from WhipiCo to use in supporting
                                                                             supplemental memorandum in support of no or nominal bond to secure preliminary injunction.


   10/18/2023   JAL           25073              17     290           493 I Finalize draft brief on amount of preliminary injunction bond.
   10/19/2023   ECT           25073              1 3    500            650 Zoom conference with opposing counsel to continue court ordered meet and confer regarding
                                                                           bond issue and McNeil's failure to produce text messages and follow up correspondence to
                                                                             document discussion.
   10/19/2023   EJL           25073              1.2    600            720 1 Attend call with Colin Thompson and Antonio Converse (counsel for McNeill) regarding bond
                                                                             issue and discovery related matters per the court’s orders. (0.7); conference with Colin
                                                                             Thompson as to same (0.5).
   10/19/2023   JAL           i 25073            3 8    290          1 102: Participate in second conferral with opposing counsel re bond issue and discuss same with
                                                                             Ethan Loeb and Colin Thompson (1.5); update Ethan Loeb via email on bond/discovery issues
                                                                             status (.2); revise draft of bond briefing and send to Colin Thompson (2.1).


   10/20/2023   ECT           25073              3.1    500          1 550 i Correspondence with opposing counsel regarding McNeil's objection to producing additional
                                                                             evidence to prove amount of bond requirement and agreement not to attempt to introduce into
                                                                             the record any additional evidence (.6); review, revise and finalize Supplemental briefing on
                                                                             amount of bond as required by the Court (2.5).
  10/23/2023    JAL           25073              1.1    290            31 9: Find cases discussing difficulty of obtaining injunction (1.1)


TOTAL                                          564.6          $ 230,999.50
